LETHAL INJECTION EXECUTION MANUAL


                       EXECUTION PROCEDURES

                                      FOR

                          LETHAL INJECTION

This manual contains a summary of the most significant events and departmental
procedures to be followed in the process of carrying out the orders of the Tennessee
Supreme Court regarding the imposition of death by lethal injection. It contains a
detailed listing of some of the duties and responsibilities of certain key
departmental personnel. In addition, the manual covers institutional perimeter
security prior to, during, and subsequent to an execution.

It will be used as a guideline for the Warden to assure that operational functions
are properly planned with the staff who have designated responsibilities in
performing a judicially ordered execution by lethal injection.


                       SECTION VIII (PERIMETER SECURITY) IS


                             CONFIDENTIAL
                         AND IS NOT FOR PUBLIC RELEASE.




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                              I. INTRODUCTION




          RIVERBEND MAXIMUM SECURITY INSTITUTION




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The Tennessee Department of Correction is responsible for the incarceration of convicted
felons serving sentences ranging from one year to death. Individuals sentenced to death
are executed at Riverbend Maximum Security Institution. Upon the exhaustion of an
inmate's appeals, the execution process shall begin.

In the capacity as Commissioner of the Tennessee Department of Correction, it is my duty
by law to oversee the humane and constitutional execution of individuals sentenced to
death by judicial authority in Tennessee. Tennessee law establishes lethal injection as the
primary method for carrying out a death sentence and authorizes the Department to
promulgate rules and regulations for the procedures for lethal injection. This manual
explains the procedures for lethal injection. It will be reviewed annually, or as needed, by
a designated panel.




                                           Date




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                               II. DEFINITIONS




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                                      DEFINITIONS
The definitions listed below pertain only to the Lethal Injection Process within this manual.

Bin Card               A card used to inventory and account for a lethal injection chemical.

Catheter               A thin flexible tube that is inserted into a part of the body to inject
                       fluid.

Death Watch            A period of time immediately prior to an execution during which
                       special procedures are implemented in order to ensure that the
                       execution is carried out in a safe and orderly manner.

Death Watch Area An area that includes the inmate's cell(s), contact and non-contact
                 visitation areas, the control room, and the secured monitoring area.

Drip Chamber           A hollow device that provides a visual of the drip/flow.

EMT                    Emergency Medical Technician

Execution Team         The Execution Team shall consist of: the Warden, Associate Warden of
                       Security, Executioner, Extraction Team, Death Watch Team, IV
                       Team, Lethal Injection Recorder, Facility Maintenance Supervisor,
                       ITS Security Systems Technician(s), and Escort Officer(s).

Extension Line         The clear tubing used to administer fluids.

Extraction Team        Execution Team members who are responsible for the removal,
                       restraint, and movement of the inmate during the time of execution.

Flash Chamber          A device that precludes blood leakage as a needle is removed from the
                       catheter and an IV unit is coupled to the catheter.

Gurney                 A wheeled stretcher for transporting.

IV                     Intravenous

Lethal Injection       A room where the Executioner administers the lethal injection
Room                   chemical(s) at the direction of the Warden.

LIC                    Lethal Injection Chemical(s)

Pan Tilt Zoom          The camera used by the Execution Team in the Lethal Injection Room.
Camera (PTZ)           The camera monitors the condemned inmate's IV site(s).

Solution Set           Equipment designed to administer an IV.


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                                  DEFINITIONS - CON'T

Syringe                A medical instrument used to inject fluids into the body or draw them
                       from it.

Tourniquet             A compression device used to cut off the flow of blood to a part of the
                       body, most often an arm or leg. It may be a special surgical instrument,
                       a rubber tube, a strip of cloth, or any flexible material that can be
                       tightened to exert pressure.

    Note:    Whenever the masculine pronoun is used m this manual, it applies
             equally to a female.




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       III.    DUTIES OF MANAGEMENT AND ADMINISTRATIVE
                              PERSONNEL




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     RIVERBEND MAXIMUM SECURITY INSTITUTION
                  PERSONNEL




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                                         WARDEN
Primary Role

To ensure that the procedures prescribed by law and as outlined in this manual are
performed, either by personal performance or by delegation.

Duties:

   1.     To ensure that the security of the institution is maintained.

   2.     To ensure that condemned inmates sentenced prior to January 1, 1999, are given
          the opportunity to select electrocution or lethal injection as a legal means of
          execution at least 30 days before the execution.

   3.     To explain to the inmate the procedures and activities which will take place during
          Death Watch.

   4.     To control any contact between the condemned inmate and other persons.

   5.     To coordinate the notification of official witnesses of the date and time to be at the
          institution to witness the scheduled execution.

   6.     To coordinate the appointment of execution teani staff member(s).

   7.     To select a person to serve as Executioner.

   8.     To set the precise hour and minute of execution, subject to approval of the
          Commissioner and the Department's General Counsel.

   9.     To ensure that the chemical(s) used for lethal injection has/have been properly
          acquired, stored, and accounted for.

   10.    To arrange for the presence of a physician to carry out functions as set forth on
          page 19.

   11.    To coordinate with the Medical Examiner for disposition of the body.

   12.    To keep the Commissioner and Assistant Commissioner of Prisons informed of the
          progress towards and implementation of the execution.

   13.    To control activation of closed circuit TV to the victim family witness room.

   14.    To order the Executioner, either verbally or by gesture, to proceed with execution.

   15.    To cause the announcement to significant parties and the public of the fact that
          the sentence of execution has been carried out.

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                       ASSOCIATE WARDEN OF SECURITY
Primary Role

Assist the Warden in performing execution procedures and substitute for the Warden if he
is unable to perform his duties.

Duties:

   1.     To ensure the security of the condemned inmate.

   2.     To supervise preparation of the Death Watch cell area, Execution Chamber, and
          the condemned inmate for execution.

   3.     To coordinate and/or approve, with assistance by assigned security staff, visits and
          phone calls permitted to the condemned inmate.

   4.     To provide the final inspection of restraint devices to ensure the condemned
          inmate is secured on the gurney prior to placing IV catheters in each arm.

   5.     To ensure that any blinds between the witness room and the Execution Chamber
          are closed prior to the witnesses entering and opened after the witnesses are
          seated.

   6.     To supervise the removal of the body from the Execution Chamber.

   7.     To coordinate the release of the condemned inmate's body to the authorized
          recipient or coordinate burial at State expense in the event no one claims the body.




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                       LETHAL INJECTION RECORDER
Primary Role

Assist the Warden in carrying out his duties.

Duties:

   1.     To coordinate and supervise the movement of the Execution Team to and from the
          Execution Chamber, and aid in maintaining the team's anonymity.

   2.     To process applications for the selection of news media representatives to attend
          executions.

   3.     To complete the Lethal Injection and Execution Recorder Checklist. (See Section
          IX Forms)




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                          DEATHWATCH SUPERVISOR
Primary Role

To coordinate all security requirements for the inmate during the Death Watch and to
supervise all correctional officers assigned any responsibilities for direct supervision of the
inmate during Death Watch, including preparation of the condemned inmate.

Duties:

   1.     To prepare a duty schedule for officers assigned this detail.

   2.     To review post orders for correctional officers and to become familiar with all
          functions of subordinates.

   3.     To ensure that the condemned inmate personally inventories his personal property
          and packs away all items he is not permitted to retain. The Death Watch
          Supervisor, inmate, and one witness will sign the property inventory. The sealed
          property will be retained in storage in the Property Room until removed by the
          inmate's designee.

   4.     To maintain a bound ledger of information related to Death Watch associated
          activities. This log will contain a record of all visitors, meals served, shaving,
          handling of mail, inmate behavior, movement, communications, etc.

   5.     To permit only authorized persons to enter the Death Watch area. The Warden
          will provide a list of authorized personnel.

   6.     To maintain a sufficient amount of clothing in the inmate's size in order to provide
          a change of clothing each time the inmate leaves the cell. The Death Watch
          Officers will have custody of the clothing to be stored.

   7.     To ensure that cellular phones, cameras, audio, and video equipment are not taken
          into the Death Watch area or the Execution Chamber at any time during Death
          Watch or at the time of execution, unless authorized by the Warden.

   8.     To coordinate movement of witnesses entering and exiting witness rooms during
          the execution process.

   9.     To activate and deactivate the closed circuit TV and audio speaker systems at the
          prescribed times during the execution process.

   10.    To ensure the events pertaining to the execution are documented by the Lethal
          Injection Recorder on the Lethal Injection Execution Recorder Checklist.




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                          INSTITUTIONAL CHAPLAIN
Primary Role

To offer and deliver chaplaincy services to the condemned inmate and the inmate's family
as needed.

Duties:

   l.     To ask the inmate to specify in writing the preferred funeral arrangements and the
          preferred recipients of personal property. If a legal will is requested, the Chaplain
          will coordinate with the TDOC Staff Attorney.

   2.     To say a brief prayer of intercession immediately prior to execution (if requested).

   3.     To assist in the release of the executed inmate's body to the authorized next-of-kin
          recipient or mortician through the State Medical Examiner.




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                       SECURITY SYSTEMS TECHNICIANS
Primary Role

To ensure that the closed circuit television and the audio systems between the Execution
Chamber and witness room(s) are functioning properly at the scheduled time of execution.




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                                       PHYSICIAN
Physician's Primary Role

To pronounce death.

Duties:

   1.     To be present at the time of execution in the capital punishment garage.

   2.     As an ultimate and last option, the physician may perform a venous cut-down
          procedure should the IV Team be unable to find a vein adequate to insert the
          catheter.

   3.     To examine the body for vital signs five minutes after the LIC has been injected.

   4.     To notify the Warden if the inmate is not legally dead.

   5.     To pronounce death if no vital signs are detected.




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                                         IV TEAM
Primary Role

To establish properly functioning IV lines for administration of the lethal injection
chemical(s).

Duties:

   L      To prepare the IV equipment.

   2.     To make sure the equipment used is in working order.

   3.     To locate sites for intravenous use.

   4.     To make sure vascular access is properly established.

   5.     To make sure the IV lines are flowing properly.

   6.     To document the injection of the LIC(s) on the Lethal Injection Chemical
          Administration Record sheet.




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                  FACILITY MAINTENANCE SUPERVISOR
Primary Role

To assist with the witnesses.




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                              EXTRACTION TEAM
Primary Role

To escort and secure the condemned inmate during the execution process.




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                             ESCORT OFFICER(S)
Primary Role

To accompany and guide witnesses during the execution process.




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                       CENTRAL OFFICE PERSONNEL




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                                  COMMISSIONER
Primary Role

To oversee the administration of judicial executions in Tennessee.

Duties:

   1      Approximately ten minutes prior to the time scheduled for the execution, the
          Commissioner will establish telephone contact with the Governor's Legal Counsel.

   2      To communicate to the Warden any circumstances that could alter or delay the
          execution.

   3      To arrange for or mandate an Employee Assistance Program (EAP) debriefing as
          needed.




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                 ASSISTANT COMMISSIONER OF PRISONS
Primary Role

To be stationed at the Command Post or location designated by the Commissioner and to
work directly with the Commissioner and perform any assigned duties.

Duties:

   l.     To serve as liaison to all support units and to conduct an operational debriefing of
          all security and procedural personnel after the execution.

   2.     To maintain telephone andlor radio contact with the Warden and other personnel.

   3.     To coordinate with the Metropolitan Nashville Police Department and Tennessee
          Highway Patrol and any additional security forces required.




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                       DIRECTOR OF COMMUNICATIONS
                           AND PUBLIC RELATIONS
Primary Role

To coordinate all media operations associated with the execution.

Duties:

    1.    To provide assistance to the Warden m obtaining telephone communications
          needed by media representatives.

    2.    To coordinate all visits by media representatives both prior to and subsequent to
          an execution.

    3.    To notify the media of the witness lottery by faxing an advisory to the Associated
          Press.

    4.    To attend the media drawing held at RMSI and send out a notification to the
          Associated Press regarding who was selected.

    5.    To compile a press kit including guidelines, specifics of the case for which the
          inmate is being executed, and other related policies and statutes needed for the
          execution.

    6.    To communicate with the Governor's communication staff about who will be
          available to address media inquiries.

    7.    To coordinate with the Governor's Director of Communications any press releases
          and public messages.

    8.    To establish a contact sheet with names, assignments, and contact numbers of
          each Public Information Officer involved. The Warden will be issued a copy.

    9.    To coordinate with the Facility Maintenance Supervisor to create a staging area
          with a po di um for news briefings.

    10.   To establish a schedule for news briefings.




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           DIRECTOR OF THE OFFICE OF INVESTIGATION
                      AND COMPLIANCE
Primary Role

To coordinate all external security and tactical activities associated with the execution.

Duties:

   1.     No less than a week before the execution, to schedule a security meeting with
          participating external agencies.

   2.     To coordinate security assignments with participating external agencies.

   3.     In consultation with the Assistant Commissioner of Prisons, to coordinate tactical
          activities as necessary.

   4.     To work with the Escort Officer(s) in accompanying witnesses.




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                       DIRECTOR OF VICTIM SERVICES
Primary Role

To work with victims, family members, and other interested parties involved in the
execution process.

Duties:

   1.     To confirm the list of individuals registered for notification.

   2.     To mail execution notification letters and packets. (See Section IX Forms)

   3.     To work closely with the victim liaison from the Attorney General's office.

   4.     To work with the Escort Officer(s) in accompanying witnesses.




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                 IV.   SELECTION AND TRAINING OF STAFF




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        EXECUTION TEAM MEMBER SELECTION CRITERIA
                    LETHAL INJECTION
Certain persons are members of the Execution Team by virtue of their official position (i.e.
Warden, Associate Warden of Security). The Warden selects the remaining team and
considers at a minimum the following general criteria for other members:

   1.     Length of service.

   2.     Ability to maintain confidentiality.

   3.     Maturity.

   4.     Willingness to participate.

   5.     Satisfactory work performance.

   6.     Professionalism.

   7.     Staff recommendations to the Warden.

   8.     Review of personnel files by the Warden prior to selection.


The following positions on the Execution Team are specialized and have specific
requirements:

   1.   Three (3) EMTs - Paramedic                Certified Emergency Medical Technician

   2.   Three (3) Correctional Staff              Received IV training         through   the
                                                  Tennessee     Correction    Academy     by
                                                  qualified medical professionals.

   3.   Facility Maintenance Supervisor           A person knowledgeable of the institution's
                                                  physical plant and equipment.

   4.   Security Systems Technician(s)            Must be an Electronic Security Systems
                                                  Specialist 1 or above with audio/visual
                                                  experience.




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               TRAINING OF EXECUTION TEAM MEMBERS
Execution Team

The Execution Team shall consist of: the Warden, Associate Warden of Security,
Executioner, IV Team, Extraction Team, Death Watch Team, Lethal Injection Recorder,
Facility Maintenance Supervisor, ITS Security Systems Technician(s), and Escort Officers.

Training

   1.   All Execution Team members must read the Lethal Injection Execution Manual
        when they become members of the Execution Team. Additionally, the Warden or
        designee holds a class during which the manual is reviewed and clearly understood
        by all participants. At least annually, the Warden or designee holds an Execution
        Manual review class for all members of the Execution Team.

   2.   The Execution Team simulates Day 3 (Execution Day) of the Death Watch
        Procedures and the steps outlined in Section 4 for at least one (1) hour each month.
        Additional training is held within two weeks before a scheduled execution. A
        training record is maintained to document all staff members who participate in the
        training.

        The simulation includes all steps of the execution process with the following
        exceptions:

                A.     Volunteers play the roles of the condemned inmate and physician.
                B.     Saline solution is substituted for the lethal chemicals.
                C.     A body is not placed in the body bag.

   3.   All training that occurs is documented. The documentation includes the times and
        dates of the training, the participants, and the training content.

Executioner

The Executioner receives initial and periodic instruction from a qualified medical
professional.




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V.    PROCUREMENT, PREPARATION, INTRODUCTION OF THE
             LETHAL INJECTION CHEMICAL, AND
             PROCEDURES OF ACCOUNTABILITY




               RIVERBEND MAXIMUM SECURITY INSTITUTION




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                 CHEMICALS USED IN LETHAL INJECTION

The Department will use one of the following protocols as determined by the Commissioner:

Protocol A:

Pentobarbital          100 ml of a 50 mg/mL solution (a total of 5 grams)


Protocol B:

Midazolam              100 ml of a 5mg/ml solution (a total of 500 mg)

Vecuronium             100 ml of a lmg/ml solution (a total of 100 mg)
Bromide

Potassium              120 ml of a 2 mEq/ml solution (a total of 240 mEq)
Chloride




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                      PROTOCOL A:
       PROCUREMENT, STORAGE, ACCOUNTABILITY, AND
              TRANSFER OF THE CHEMICAL
Procurement

Upon receipt of an order setting an execution date, the Warden or his designee shall contact
a physician to obtain a physician's order for the LIC. The Warden or designee shall submit
the physician's order to a licensed pharmacy or pharmacist to be filled. A member of the
Execution Team checks the supply of the LIC, the concentration, and expiration dates.

Storage of LIC

  1.    When the LIC is received, a member of the Execution Team and the Warden take
        the LIC to the armory area of Building 7 at RMSI. The LIC is not stored in the
        weapon area of the armory due to the occasional employee traffic but rather in the
        key control section of the armory where there is the least employee need for access.
        The LIC is placed in an unmovable heavy gauge steel container with security grade
        locks.

  2.    All locking devices and storage containers are designed to prevent access to anyone
        without the proper keys or result in such destruction that entry into the container is
        unmistakable. There is only one key to access the storage container. That key is
        issued permanently to the Warden of RMSI. The Warden also has the pattern key to
        the container in his possession. There are no other duplicates produced. The Warden
        surrenders the key to no one other than the one member of the Execution Team
        designated for inventorying the LIC and only for the duration of the count and
        expiration checking of the LIC. Only the Warden or designee is allowed to access the
        storage container.

  3     The LIC on hand is monitored for expiration dates. All of the LIC boxes/bottles have
        an expiration date, and all are in tamper-proof containers. As the LIC reaches its
        expiration date, it shall be disposed of by hazardous waste pick-up.




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                                                                                    Attachment 3
Accountability of LIC

   1.   A permanently bound ledger is maintained in the armory/key control area where all
        employees, including the armory/key control officer(s), sign each time they enter the
        area. The armory/key control officer performs a visual inspection of each container
        upon arrival at his workstation to ensure the proper band is in place and that the
        container has not been compromised in any way.

   2.   A permanently bound ledger is maintained in the storage area that contains a record
        of the LIC. An inventory of each lot of the LIC is maintained on a Bin Card form.
        Any LIC removed for use, disposal due to expiration, or for any other reason is
        deducted from the inventory. Any LIC received into the storage container is added to
        the inventory.

   3.   The storage container has a numbered security band that is broken prior to opening
        the container. The number of the band is recorded in the ledger. When the storage
        container is opened for any reason, the band is broken and the justification for entry
        is recorded in the ledger adjacent to the band number. When the storage container is
        secured and a new band is placed on the container, a new number is recorded in the
        ledger.
                                      1
   4.   Upon receipt of the LIC, the Warden or designee proceeds to the armory storage
        area, secures the LIC, and adjusts the inventory appropriately. Prior to the LIC
        being placed in storage, the expiration date and lot number or other identifying
        marking is recorded to ensure that the LIC is properly disposed of at the time of
        expiration.

   5.   The Warden and the designee jointly verify the inventory of LIC on a semi-annual
        basis (January/July), at a minimum, and subsequent to each execution. The Warden
        and the designee make appropriate entries in the ledger with their full signatures
        that verify the correctness of the LIC count.

Transfer of Location

   1.   After the LIC is signed out on the appropriate ledger in the armory for execution
        purposes, the LIC is placed in an inconspicuous container for transport to the
        Execution Chamber. The Warden's designee is responsible for the delivery of the
        LIC to the appropriate individuals in the Execution Chamber.

   2.   If the LIC is not used and not compromised in any way, the LIC is returned to the
        armory, re-entered on the perpetual inventory ledger, and secured in the
        refrigerator. The LIC is used only for the execution of the inmate for whom it was
        ordered.




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                                                                                    Attachment 3
                      PROTOCOL B:
       PROCUREMENT, STORAGE, ACCOUNTABILITY, AND
              TRANSFER OF THE CHEMICALS
Procurement

Upon direction from the Warden or his designee, a member of the Execution Team checks
the supply of chemicals and expiration dates. If he determines that additional chemicals are
needed, he contacts the Procurement Officer at RMSI. The RMSI Procurement Officer
contacts the Procurement Officer at DeBerry Special Needs Facility (DSNF) to order the
needed chemicals. When the chemicals are delivered, the Procurement Officer at DSNF
contacts the Procurement Officer at RMSI. One of the members of the Execution Team
picks up the chemicals at either the DSNF or RMSI warehouse. A member of the Execution
Team checks the supply of the chemicals, the concentration, and expiration dates. The
Warden ensures that there are enough lethal injection chemicals kept in inventory at RMSI
to carry out three executions.

Storage of LIC

  1.    The member of the Execution Team and the Warden take the chemicals to the
        armory area of Building 7 at RMSI. The lethal injections chemicals (LICs) are not
        stored in the weapon area of the armory due to the occasional employee traffic but
        rather in the key control section of the armory where there is the least employee
        need for access. The chemicals are placed in unmovable heavy gauge steel containers
        with security grade locks.

  2.    All locking devices and storage containers are designed to prevent access to anyone
        without the proper keys or result in such destruction that entry into the container is
        unmistakable. There is only one key to access each storage container. That key is
        issued permanently to the Warden of RMSI. The Warden also has the pattern key to
        the container in his possession. There are no other duplicates produced. The Warden
        surrenders the key to no one other than the one member of the Execution Team
        designated for inventorying the LICs and only for the duration of the count and
        expiration checking of the LICs. Only the Warden or designee is allowed to access
        the storage containers.

  3     The chemicals on hand are monitored for expiration dates. All of the chemical boxes
        and bottles have an expiration date, and all chemicals are in tamper-proof bottles or
        containers. As the chemicals reach their expiration dates, they are disposed of by
        hazardous waste pick-up.




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                                                                                    Attachment 3
Accountability of LI Cs

   1.   A permanently bound ledger is maintained in the armory/key control area where all
        employees, including the armory/key control officer(s), sign each time they enter the
        area. The armory/key control officer performs a visual inspection of each container
        upon arrival at his workstation to ensure the proper band is in place and that the
        container has not been compromised in any way.

   2.   A permanently bound ledger is maintained in the storage area that contains a record
        of each LIC. An inventory of each chemical is maintained on a Bin Card form. Any
        LICs removed for use, disposal due to expiration, or for any other reason are
        deducted from the inventory. Any LICs received into the storage container are added
        to the inventory.

   3.   Each storage container has a numbered security band that is broken prior to
        opening the container. The number of each band is recorded in the ledger. When the
        container is opened for any reason, the band is broken and the justification for entry
        is recorded in the ledger adjacent to the band number. When the container is
        secured and a new band is placed on the container, a new number is recorded in the
        ledger.

   4.   Upon receipt of the LICs, the Warden or designee proceeds to the armory storage
        area, secures the LICs, and adjusts the inventory appropriately. Prior to the LICs
        being placed in storage, the expiration date and lot number or other identifying
        marking is recorded to ensure that the LIC is properly disposed of at the time of
        expiration.

   5.   The Warden and the designee jointly verify the inventory of LICs on a semi-annual
        basis (January/July), at a minimum, and subsequent to each execution. The Warden
        and the designee make appropriate entries in the ledger with their full signatures
        that verify the correctness of the LIC count.

Transfer of Location

   1.   After the LICs are signed out on the appropriate ledger in the armory for execution
        purposes, the LICs are placed in an inconspicuous container for transport to the
        Execution Chamber. The Warden's designee is responsible for the delivery of the
        LICs to the appropriate individuals in the Execution Chamber.

   2.   In the event the LICs are not used and not compromised in any way, the LICs are
        returned to the armory, re-entered on the perpetual inventory ledger, and secured in
        the appropriate container.




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                                                                                    Attachment 3
                             PROTOCOL A
                  LETHAL INJECTION CHEMICAL SET-UP
                          AND PREPARATION
   1.   Prior to an execution, a minimum of two members of the Execution Team bring the
        LIC from the armory area directly to the Lethal Injection Room. The amount of
        chemical and saline is sufficient to make two complete sets of three (3) syringes
        each. One set is color coded red and the back-up set is color coded blue. Each
        syringe is numbered in the order it is to be administered and labeled with the name
        of its contents. Only the Warden and one member of the Execution Team have a key
        to the Lethal Injection Room.

   2.   The LIC is drawn into syringes by one member of the Execution Team. Another
        member of the Execution Team observes and verifies that the procedure has been
        carried out correctly.

   3.   Only one syringe is prepared at a time. As they are prepared, the two sets of
        syringes are positioned in specific holding places in two separate trays color coded
        red and blue. The syringes are numbered, labeled, and placed in the order they will
        be administered. One member of the Execution Team will perform this procedure
        while another member of the Execution Team observes and verifies that the
        procedure has been carried out correctly. The Chemical Preparation Time Sheet will
        document the preparation of the LIC. (See Section IX Forms)

   4.   Instructions for preparation of one set of syringes:

           a.   Pentobarbital:    The member of the execution team draws 50 cc of
                Pentobarbital (50 mg/mL solution) in each of two syringes, for a total of 5
                grams of Pentobarbital. These syringes are labeled Pentobarbital with
                numbers one (1) and two (2), respectively.

           b.   Saline: The member of the Execution Team draws 50 cc of saline solution
                from the IV bag into a syringe, which is labeled Saline with the number
                three (3).

   5.   The tray is placed on the workstation in the Lethal Injection Room.

   6.   THIS PROCESS WILL BE REPEATED FOR THE SECOND SET OF
        SYRINGES

   7.   When the execution is complete, all syringes and any of the prepared but unused
        LIC are sent to the Medical Examiner's office with the body.




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                                                                                  Attachment 3
                             PROTOCOLB
                  LETHAL INJECTION CHEMICAL SET-UP
                          AND PREPARATION
   1.   Prior to an execution, a minimum of two members of the Execution Team bring the
        LICs from the armory area directly to the Lethal Injection Room. The amount of
        chemicals and saline is sufficient to make two complete sets of nine (9) syringes
        each. One set is color coded red and the back-up set is color coded blue. Each
        syringe is numbered in the order it is to be administered and labeled with the name
        of its contents. Only the Warden and one member of the Execution Team have a key
        to the Lethal Injection Room.

   2.   The LICs are drawn into syringes by one member of the Execution Team. Another
        member of the Execution Team observes and verifies that the procedure has been
        carried out correctly.

   3.   Only one syringe is prepared at a time. As they are prepared, the two sets of
        syringes are positioned in specific holding places in two separate trays color coded
        red and blue. The syringes are numbered, labeled, and placed in the order they will
        be administered. One member of the Execution Team will perform this procedure
        while another member of the Execution Team observes and verifies that the
        procedure has been carried out correctly. The Chemical Preparation Time Sheet will
        document the preparation of the LIC. (See Section IX Forms)

   4.   Instructions for preparation of one set of syringes:

            a. Midazolam: The member of the execution team draws 50 cc ofMidazolam (5
               mg/mL solution) in each of two syringes, for a total of 500 mg of Midazolam.
               These syringes are labeled Midazolam with numbers one (1) and two (2),
               respectively.

            b. Saline: The member of the Execution Team draws 50 cc of saline solution
               from the IV bag into a syringe, which is labeled Saline with the number
               three (3).

            c. Vecuronium Bromide: The Vecuronium is in powder form and must be
               reconstituted with bacteriostatic water. The Vecuronium comes in lOmg
               vials each of which need to be reconstituted with 10 mL of bacteriostatic
               water. A total of 10 vials is required to produce 100 mg of the chemical. The
               member of the execution team draws 50 cc of Vecuronium (1 mg/mL solution)
               in each of two syringes, for a total of 100 mg of Vecuronium. These syringes
               are labeled Vecuronium with numbers four (4) and five (5), respectively.

            d. Saline: The member of the Execution Team draws 50 cc of saline solution
               from the IV bag into a syringe, which is labeled Saline with the number six
                (6)


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            e_   Potassium Chloride: The member of the execution team draws 60 cc of
                 Potassium Chloride (50 mL of 2 mEq/mL solution) in each of two syringes for
                 a total of 240 mEq/mL of Potassium Chloride,. These syringes are labeled
                 Potassium Chloride with numbers seven (7) and eight (8), respectively.

            f    Saline: The member of the Execution Team draws 50 cc of saline solution
                 from the IV bag into a syringe, which is labeled Saline with the number nine
                 (9).

   5.   The tray is placed on the workstation in the Lethal Injection Room.

   6.   THIS PROCESS WILL BE REPEATED FOR THE SECOND SET OF
        SYRINGES

   7.   When the execution is complete, all syringes and any of the prepared but unused
        LIC are sent to the Medical Examiner's office with the body.




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                                                                                   Attachment 3
                                    IV LINE SETUP
REQUIRED ITEMS:              2 BAGS OF 0.9% SODIUM CHLORIDE
                             2 SOLUTION SETS
                             2HEMOSTATS
                             EXTENSION SETS
                             TAPE

   1.   Two (2) bags of 0.9% Sodium Chloride Injection USP are hung in the injection room.
        The expiration dates must be checked.

   2.   A Solution Set spike is inserted into each bag with the clamp turned to the off
        position. The drip chamber is compressed until it is approximately 1/3 filled. The
        Solution Sets are 85 inches long. The length of the Solution Set may be purchased
        longer or shorter just as long as there is a port near the spiked end.

   3.   The port nearest the spiked end is opened. This may be done by tearing the plastic
        and rubber off leaving an open hole.

   4.   Once the port is opened, an extension is inserted. Extensions can be purchased in
        different lengths. The extension into the first port should be 18 to 24 inches in
        length. Extensions are added to each end of the Solution Set until it reaches the
        desired length. The ends should reach from head to toe of the condemned inmate.

   5.   Once the desired length is obtained, the lines should be filled with Sodium Chloride.
        The clamp is opened, allowing the port to fill. When it is filled it is clamped and
        capped off. The line that goes to the body continues to fill. The clamp is turned off
        and the line is capped.

   6.   The line is taped to the port (where the syringe is inserted) in place. The remainder
        of the line is placed out of the ports in the window. It should be taped in place to
        keep it from being pinched closed.

   7.   The Sodium Chloride bag and line on the left goes to the left side of the condemned
        inmate. The left side of the condemned inmate is nearest the wall I window and
        requires fewer extensions. Repeat #5 and #6. IV lines are ready.




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INSERTION OF A CATHETER AND CONNECTION OF IV LINES
Strap Down and Location of the Vein

    L The Extraction Team straps the inmate to the gurney in the Death Watch Area.

    2. The Extraction Team moves the gurney into place in the Execution Chamber and
       straps it to the floor. Members of the team place arm supports on the gurney and
       restrain the condemned inmate's arms securely to the gurney. The restraints are
       secure but not tight enough to slow or stop blood circulation.

    3. The Extraction Team exits the Execution Chamber after the condemned inmate is in
       place and secure.

    4. The IV Team enters the Execution Chamber with an instrument cart. One member
       of the IV team remains in the Lethal Injection Room.

    5. The member of the IV Team in the Lethal Injection Room activates the phone light
       in the Execution Chamber.

    6. Size, location, and resilience of veins affect their desirability for infusion purposes.
       The EMT inserts the first catheter into a vein on the right side of the inmate in the
       antecubital fossa area. If a catheter cannot be successfully inserted into the
       antecubital area, the EMT examines other locations for insertion in the following
       order:

            a.   Forearm
            b.   Wrist
            c.   Back of the hand
            d.   Top of the foot
            e.   Ankle, lower leg, or other appropriate locations as determined by the EMTs

    7. In the unlikely event that none of these veins are usable, the physician is called into
       the Execution Chamber to perform a cut-down procedure.

Venipuncture and IV Lines

    L The EMT(s):

            a. Place a tissue towel under the limb or body part to be used to start an IV.
            b. Place a tourniquet around the limb or body part 6-8 inches above the vein to
               be used.
            c. Find the best vein to use according to the succession outlined.
            d. Swab the area with an alcohol pad.
            e. Determine the size of the catheter to be used which is determined by the size
               of the vein, 18 gauge being the largest.
            f. Insert a catheter into the vein bevel side up at a shallow angle, feeding the
               plastic catheter sleeve into the vein.
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                The flash chamber of the catheter fills with blood, which is the first
                indicator the catheter is inside a vein.

    2. An IV Team member attaches the Solution Set line from the right Sodium Chloride
       bag to the catheter. This is a friction coupling and requires the line to be pushed
       into the catheter and twisted to secure the connection.

    3. An IV Team member in the Execution Chamber signals the IV Team member in the
       Lethal Injection Room to open the clamp on the right bag of Sodium Chloride, near
       the spike, to allow a flow of Sodium Chloride into the vein.

    4. Members of the IV Team observe the IV for indication of a well-functioning line. The
       first indicator is that when the clamp is opened, there is a steady flow/drip inside the
       drip chamber. The second indicator is that the flash chamber becomes clear of blood
       as the Sodium Chloride begins to flow. When the IV Team is confident that there is
       a well-functioning line, the IV Team member in the Lethal Injection Room
       deactivates the telephone indicator light, signaling that there is a successful IV line.

    5. A member of the IV Team places the Tegaderm transparent dressing over the
       catheter and secures the line in place with tape.

    6. The second IV is then started on the left side of the condemned inmate and Steps 1-
       5 are repeated, using the left bag of Sodium Chloride.




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        CHEMICAL ADMINISTRATION AND IV MONITORING
    1. All members of the IV Team monitor both catheters to ensure that there is no
        swelling around the catheter that could indicate that the catheter is not sufficiently
        inside the vein. The IV Team member in the Lethal Injection Room monitors the
        catheters by watching the monitor in his room, which displays the exact location of
        the catheter(s) by means of a pan-tilt zoom camera. The IV Team Members observe
        the drip chambers in both lines to ensure a steady flow/drip into each Solution Set
        line.

    2. Next, an IV Team member tapes both hands, palms up, to the arm support to
       prevent movement. The palms will be down should the back of the hand be used for
       the catheter.

    3. When the hands are taped in place, the members of the IV Team leave the Execution
       Chamber.

    4. Designated members of the IV Team enter the Lethal Injection Room and assume
       their pre-assigned stations.

             a.   One IV Team member observes the process, monitoring the catheter sites for
                  swelling or discoloration, and enters the times of the LIC and Saline
                  administration on the Chemical Administration Record sheet. (See Section
                  IX Forms)
             b.   One IV Team member observes the process and hands the
                  labeled/numbered/colored syringes to the Executioner in the prescribed
                  order.

    5. The Executioner selects either the left or right Solution Set line based on the
       flow/drip inside the drip chamber. If both lines are equal, the left line nearest the
       Executioner is used.

    6. When the Warden gives the signal to proceed with the execution, the Executioner
       clamps the line near the spike. The Executioner receives the first syringe from the
       member of the IV Team and inserts and twists it into the extension line.

        Protocol A:

        #         DRUG SEQUENCE             INDENTIFIER LABEL                  VOLUME

        1.        PENTOBARBITAL             [DRUG NAME, RED #1]                50 cc

        2.        PENTOBARBITAL             [DRUG NAME, RED #2]                50 cc

        3.        SALINE FLUSH              [DRUG NAME, RED #3]                50 cc




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        Protocol B:

        #       DRUG SEQUENCE             INDENTIFIER LABEL                  VOLUME

        1.      MIDAZOLAM                 [DRUG NAME, RED #1]                 50 cc

        2.      MIDAZOLAM                 [DRUG NAME, RED #2]                 50 cc

        3.      SALINE FLUSH              [DRUG NAME, RED #3]                 50 cc

        4.      VECURONIUM                [DRUG NAME, RED #4]                 50 cc
                BROMIDE

        5.      VECURONIUM                [DRUG NAME, RED #5]                 50 cc
                BROMIDE

        6.      SALINE FLUSH              [DRUG NAME, RED #6]                 50 cc

        7.      POTASSIUM CHLORIDE        [DRUG NAME, RED #7]                60 cc

        8.      POTASSIUM CHLORIDE        [DRUG NAME, RED #8]                60 cc

        9.      SALINE FLUSH              [DRUG NAME, RED #9]                 50 cc


    7. The Executioner pushes on the plunger of the #1 syringe (red) with a slow, steady
       pressure. Should there be or appear to be swelling around the catheter or if there is
       resistance to the pressure being applied to the plunger, the Executioner pulls the
       plunger back. If the extension line starts to fill with blood, the execution may
       proceed. If there is no blood, the Executioner discontinues with this line. He starts
       the process on the other line with the back-up set of syringes starting with syringe
       #l(blue) and following all of Step 6.

    8. An IV Team Member hands the syringes to the Executioner and both IV Team
       Members observe the correct order of the syringes as the Executioner injects the LIC
       and saline solution.

    9. After the last syringe has been injected, the Executioner closes the extension line
       with a clamp and opens the line below the spike to allow a drop of 1-2 drops per
       second in the drip chamber.

    10. The Executioner signals the Warden that all of the LIC and saline solution have
        been administered.




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                                                                                      Attachment 3
                       VI.   DEATH WATCH PROCEDURES

                             LETHAL INJECTION




           RIVERBEND MAXIMUM SECURITY INSTITUTION




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      STAFF RESPONSIBILITIES AND SPECIAL PROCEDURES
               FOR INMATES ON DEATH WATCH

Purpose:        The purpose of this operating procedure is to designate staff responsibilities
                and establish uniform property, privileges, and institutional guidelines for
                condemned inmates with signed court orders for execution.

Application:    All inmates who have exhausted all appeals available to them and have an
                execution date within the next four days.

1.       Housing and Security Assignments

        A. The inmate is transferred to Building 8 (Capital Punishment) three (3) days
           prior to the scheduled execution.

         B. Correctional officers are assigned to the housing area in a manner consistent
            with TDOC Policy #506.16.2, which sets forth the guidelines for the Death Watch
            Supervisor.

2.      Middle Tennessee Institutional Notification and Advisement of Law Enforcement
        Agencies

        Upon determination of the execution date and time, the Commissioner, Director of
        Communications and Community Relations, Assistant Commissioner of Operational
        Support, Assistant Commissioner of Prisons, Correctional Administrator,
        Correctional Program Director, Wardens of Tennessee Prison for Women, Deberry
        Special Needs Facility, and Turney Center may be advised by Riverbend's Warden
        or his designee. Should circumstances develop which necessitate it, tactical activities
        are coordinated by the Director of Investigation and Compliance after conferring
        with the Assistant Commissioner of Prisons. Formulation of security personnel is at
        the discretion of the Assistant Commissioner of Prisons.

3.       State-Issued Property and Possession Limit

        The inmate is allowed only the items listed below. Any other item is considered
        contraband and confiscated in accordance with institutional policy.

        A.      Standard issue of outer clothing
        B.      One bed
        C.      One mattress, pillow, and standard issue of linens
        D.      One toothbrush
         E.     One tube of toothpaste
        F.      One bar of soap
        G.      One electric razor (to be issued and used under direct supervision only)
        H.      Two towels, one washcloth
        I.      Two pairs of shorts and t-shirts (male inmates). Two pairs of panties and bras
                (female inmates). Underwear will be exchanged daily.
        J.      Toilet tissue as needed


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         K.     Stationery - 12 sheets, 3 stamped envelopes, 3 pencils. Pencils will be 111
                possession of officer when not in use.
         L.     Religious materials as issued by institutional chaplain
         M.     Legal documents, books, and papers as requested
         N.     Medication prescribed by the institutional doctor (to be issued and used
                under direct supervision only)
         0.     One walkman type radio (state owned)
         P.     One television outside door in front of cell (state owned)
         Q.     Newspapers as requested and available (no more than two in cell at a time)
         R.     Feminine hygiene items as necessary and appropriate

4.       Commissary Privileges

         The inmate has commissary privileges with purchasing and possession limits
         specified in post orders. Glass, aerosol, and metal containers are not allowed during
         the final days of pre-execution monitoring.

5.       Disposition of Unauthorized or Contraband Items

         Contraband items found in the possession of condemned inmates are confiscated and
         disposed of in accordance with institutional Policy #506.15.1.

6.       Package Permits

         Package permit privileges are suspended for inmates on Death Watch. Any package
         already mailed is received and stored with the inmate's other property.

7.       Library, Legal Library Services, Periodical Subscriptions

         A      The condemned inmate may request legal materials from the law library in
                writing, Such materials are carefully inspected by the Death Watch
                Supervisor. There will be no exchanges of communication with inmate legal
                clerks and the condemned inmate.

         B.     The inmate may continue to receive periodical subscriptions, but may not
                order new subscriptions. Periodicals, newspapers, etc., are allowed to
                accumulate during the final week. Only two periodicals and two newspapers
                may be retained by the inmate.

8.       Diet

         Three (3) meals per day are fed to all condemned inmates, except holidays and
         weekends, which will be two meals just as general population. Special dietary
         instructions for medical reasons are followed.

9.       Recreation

         Recreational activities for inmates on Death Watch are suspended.

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10.     Television and Radio Privileges

        Television and radio privileges are the same as routinely provided, except that
        during the Death Watch period, the television is located outside the inmate's cell.

11.     Personal and Legal Phone Calls

        The inmate may make unlimited calls to anyone on his pre-approved telephone list.
        He may make and receive phone calls to legal counsel without restriction.

12.     Visitation Privileges

        A.      Social

                1.       Only those individuals on the inmate's approved visiting list are
                         allowed visits during the Death Watch.

                2.       All visits are held in the Death Watch area, and physical contact
                         between the visitor(s) and inmate is not permitted. Visits are between
                         the hours of 9:00 am and 3:00 pm, and limited to two hours duration.

                3.       The number of visitors allowed to visit at any one time is as flexible as
                         circumstances permit, and is at the discretion of the Associate Warden
                         of Security.

                4.       A final visit, during which physical contact between the inmate and
                         immediate family is permitted, may be authorized by the Warden. The
                         Warden's decision is based on the individual circumstances of each
                         case.

                         a.     Security procedures, including searches, are of the mm1mum
                                deemed necessary by the Associate Warden of Security.

                         b.     Contact visits are supervised by no fewer than two correctional
                                officers chosen by the Death Watch Supervisor with the
                                concurrence of the Associate           Warden of Security.

        B.      Religious

                1.       Priest(s), or ministers, of recognized religious faiths may visit the
                         inmate in the same manner as provided for social visits in 12 (A).

                2.       A final visit by the inmate's priest, minister, or spiritual advisor may
                         be permitted by the Warden between 3:00 pm - 5:00 pm, prior to the
                         execution. This visit takes place at the front of the inmate's cell.



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                        a.     The priest, minister, or spiritual advisor may not accompany
                               the inmate into the Execution Chamber.

                        b.     At the inmate's request, a staff chaplain may visit on request
                               andlor accompany the inmate into the Execution Chamber.

        C.      Legal Services

                1.      The attorney of record or other Tennessee licensed attorney
                        representing the inmate may visit up to one (1) hour before the time of
                        execution.

                2.      The attorney is permitted telephone contact with the condemned
                        inmate during the last hour prior to execution.

                3.      Visits with attorneys are non-contact and are conducted with
                        provision for the privacy of verbal exchange but under full and
                        continuous observation by at least two correctional officers.

        D.      Media

                1.      No media interviews are held with the inmate after placement on
                        Death Watch.

                2.      Telephone interviews with media representatives are not permitted.

                3.      Representatives of the news media are not allowed inside the
                        secure perimeter of the institution during the time of active
                        Death Watch or during an execution for any purpose
                        whatsoever, unless selected as a witness to the execution.




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                                   EXECUTION TEAM
1.      The purpose of this operating procedure is to outline the duties and responsibilities
        of the Execution Team members in carrying out the death sentence by lethal
        injection.

2.      The Execution Team shall consist of: the Warden, Associate Warden of Security,
        Executioner, IV Team, Extraction Team, Death Watch Team, Lethal Injection
        Recorder, Facility Maintenance Supervisor, Security Systems Technician(s), and
        Escort Officer(s). The identity of the Execution Team is confidential.

3.      Readily available to the Execution Team are radios with holster, keys, and
        restraints.

4.      The following procedures shall apply:

        A.      The Execution Team's Officer in Charge and/or the Assistant Officer in
                Charge conducts a training session at least once each month at which time all
                equipment will be tested. The training includes a simulated execution (i.e. IV
                lines, IV Drip).

        B.      A week before a scheduled execution, the Officer in Charge and Assistant
                assembles the Execution Team in the Execution Chamber area to prepare
                and test all appliances and equipment for the scheduled execution.

        C.      The Warden ensures that the Execution Team carries out the following
                instructions:

                1.     Assemble all other members of the Execution Team in the Execution
                       Chamber before the scheduled execution and review their specific
                       assignments and duties.

                2.     Ensure that all equipment is properly placed.

                3.     The inmate is removed from the holding cell and placed in the
                       Execution Chamber by the Extraction Team members previously
                       assigned those duties, under the direction of the Assistant Officer in
                       Charge.

                4.     When the condemned inmate is secured in place in the Execution
                       Chamber, all members of the Extraction Team will retire to the holding
                       cell area.

                5.     When the lethal injection        process   has   been   completed,   the
                       Warden/designee is advised.

                6.     After the physician pronounces the inmate deceased, the designee
                       informs the Commissioner that the sentence has been carried out.
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                7.     The body is removed and placed in a body bag by the Execution Team
                       and Medical Examiner's staff. The LIC and syringes used are placed in
                       the body bag and closed.

                8.     The body is placed in the Medical Examiner's vehicle.

                9.     The Execution Team, under the direction of the Officer in Charge,
                       cleans the equipment and Death Watch area. The holding cell is cleaned
                       thoroughly with the mattress and pillow sanitized. Equipment shall be
                       stored in its proper location. An entry is made in the post log
                       documenting the completion of these procedures.

                10.    The Execution Chamber and Death Watch areas are secured. The
                       Execution Team reports to the Warden's Office for additional
                       instructions.




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                          DEATH WATCH SUPERVISOR
l.      The duties and responsibilities of this post are that of observation and supervision of
        all activities concerning a condemned inmate(s) during pre-execution (Death Watch)
        monitoring. The post is the entrance area leading into the Death Watch area. The
        Death Watch Supervisor assumes authority of all personnel assigned to pre-
        execution monitoring (Death Watch). The duties are the general supervision and
        control of other security personnel assigned to monitor the condemned inmate
        during the time under Death Watch to include preparation of the condemned
        inmate(s) prior to execution. There may be one Floor Officer per shift assigned.

2.      This officer must be a Correctional Lieutenant or higher. The officer reports directly
        to the Warden or Associate Warden of Security. During off-duty hours, he will
        remain on standby status unless relieved by another Lieutenant or Captain upon
        orders of the Warden or Associate Warden of Security.

3.      Equipment needed: radio with holster, keys, and restraints.

4.      Specific duties and responsibilities

        A.      Immediate Action

                l.     Upon notification of the assignment (normally when a Death Watch
                       reaches active stage), the Death Watch Supervisor prepares to assume
                       the duty schedule reflected above.

                2.     He reviews the post orders for the Control Officer and Floor Officer
                       and becomes familiar with all functions of subordinates.

                3.     He ensures that the condemned inmate, upon reaching active Death
                       Watch status, personally inventories and packs away all items he is
                       not permitted to retain. The inmate is permitted to retain a copy of
                       the inventory. The sealed property is retained in storage in Building 8
                       until ordered removed or surrendered to the inmate's designee.

                4.     He is responsible for escorting the condemned inmate to Building 8
                       and placing him in a cell after strip searching and exchanging his
                       clothing.

                5.     He ensures that all significant information is entered on the
                       Supervisor's Log. ALL PERSONS ENTERING THIS AREA FOR ANY
                       PURPOSE WILL SIGN IN AND OUT, and a record of activity must be
                       logged accurately.

                6.     He ensures that sufficient clothing in the inmate's size is retained in
                       the preparation area to accommodate an exchange each time the
                       condemned inmate leaves his cell.

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        B.      Subordinate Personnel

                1.     He supervises all subordinate personnel.

                2.     He ascertains the phone numbers and addresses of all subordinate
                       personnel in order that they may be contacted after hours.

                3.     He ensures that all orders and instructions are read and understood
                       by all subordinate personnel.

        C.      Routine Security Measures, Checks, Logs

                1.     He maintains or causes to be maintained (by the Control Officer) a
                       "Supervisor's Log" of activities.

                2.     He personally supervises the feeding of all meals during his shift. He
                       ensures that no inmates are utilized in the feeding of any meal during
                       an active Death Watch, including preparing the trays.

                3.     He keeps all unauthorized personnel out of the area.

                4.     He ensures that the security of the area is reported to the Control
                       Room each half-hour during an active Death Watch.

                5.     He does not permit anyone to enter the condemned inmate's cell
                       except by order of the Warden, Associate Warden of Security or Shift
                       Captain. The only exception is a life-threatening emergency.

                6.     He ensures that the condemned inmate is handcuffed from behind
                       anytime he leaves his cell. The inmate remains handcuffed until he is
                       returned to his cell. (The inmate may be handcuffed in the front if a
                       restraint belt is used. Restraints may be removed if the inmate is
                       secured in a non-contact visiting room.)

                7.     Any time the inmate is moved, he will receive a double escort.

                8.     At least one (1) officer remains in the area, even if it is temporarily
                       vacant.

                9.     He ensures that the area is kept clean and orderly. The inmate's
                       holding cell is cleaned daily by assigned staff. The inmate is moved to
                       an adjoining cell while the cleaning process is being accomplished.

        D.      Normally the inmate receives telephone calls from a special extension
                plugged in at his cell location. When the telephone is not in use, ensure its
                security and storage away from the cell.


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        E.       Emergencies and Other Contingencies

                 1.    In the event of self-inflicted or other injury to the inmate, the Death
                       Watch Supervisor takes immediate and decisive action. He contacts
                       the medical clinic immediately to send assistance.

                2.     He personally supervises the dispensing of any medication on a single
                       unit dosage basis.

                3.     He immediately notifies the Shift Supervisor, Associate Warden of
                       Security, or Warden in the event of an emergency.




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                                 CONTROL MONITOR
1.      At the beginning of the Death Watch, the officer assigned to this post will assume
        his duties.

2.      This officer must be a Correctional Corporal or higher. The officer reports directly to
        the Death Watch Supervisor, Associate Warden of Security, or Warden at the
        beginning of pre-execution monitoring until relieved or until the execution is stayed
        or carried out.

        A.      Immediate Action

                1.     Upon notification, the officer assumes the duties and responsibilities
                       as described herein and the shift supervisor is alerted of the delegated
                       assignment.

                2.     The Control Monitor begins maintenance of the Death Watch
                       Supervisor's log ensuring the recording of significant detailed
                       information.

                3.     During pre-execution monitoring, the Control Monitor ensures that
                       only the following persons are authorized to enter the area:

                       a.     Warden
                       b.     Associate Warden
                       c.     Captain/Lieutenant
                       d.     Officers to assist in routine functions (i.e., showers, escort,
                              shakedown) as authorized by Death Watch Supervisor
                       e.     Any medical or security personnel deemed appropriate in an
                              emergency situation
                       f.     Prison Chaplain
                       g.     Commissioner
                       h.     Assistant Commissioner of Operational Support
                       L      Assistant Commissioner of Prisons
                       J.     General Counsel

                4.     He ensures the cleanliness of the area as well as the cell area during
                       pre-execution monitoring.

        B.      Routine Security Measures, Security Checks, and Logs

                1.     He keeps an accurate chronological log of post activities.

                2.     He keeps a sign-in and sign-out log for every person who enters or
                       leaves the Death Watch area.

                3.     He maintains close surveillance of subordinate personnel.

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                 4.    He keeps all unauthorized personnel out of the area, to include
                       inmates, other employees, and visitors.

                5.     He reports the security of the post to the Control Room every thirty
                       minutes.

                6.     He personally ensures that the condemned inmate is handcuffed
                       (behind his back) anytime he leaves his cell. A restraint belt may be
                       used. The handcuffs may be removed when the inmate is receiving
                       non-contact visits.

                7.     He ensures that when a condemned inmate is moved, he is escorted by
                       two officers designated by the Death Watch Supervisor.

                8.     He ensures that when the condemned inmate is moved from his cell,
                       he is searched and placed in different clothing. The same clothing
                       may be reused until soiled, so long as it is thoroughly inspected before
                       reissuing.

        C.      Visiting

                1.     He ensures that all visiting is non-contact and is held in the visiting
                       area next to the Control Room, unless otherwise directed.

                2.     He ensures escorts for visiting during pre-execution monitoring are
                       provided by two experienced correctional officers assigned by the
                       Death Watch Supervisor.

                3.     He ensures that supervision of visiting for condemned inmates in pre-
                       execution monitoring is designated by the Death Watch Supervisor.

                4.     He ensures that an accurate log of pertinent information to include
                       names of each visitor, time of arrival and departure of each visitor,
                       and inmate is maintained by the officer assigned to a supervised
                       visitation.

                       a.     The number of persons authorized and the visiting hours are in
                              accordance with specific instructions issued by the Warden or
                              Associate Warden of Security.

                       b.     Allowable commissary items are listed in Section E.

        D.      He ensures that the inmate is allowed only the items listed below. Any other
                item is considered contraband and confiscated m accordance with
                institutional policy.

                1.     Standard issue of outee clothing

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                2.     One bed

                3.     One mattress, pillow, and standard issue oflinens

                4.     One toothbrush

                5.     One tube of toothpaste

                6.     One bar of soap

                7.     One electric razor (to be issued and used under direct superv1s10n
                       only)

                8.     Two towels, one washcloth

                9.     Two pair of shorts and t-shirts (male inmates). Two pairs panties and
                       bras (female inmates). Underwear will be exchanged daily.

                10.    Toilet tissue as needed

                11.    Stationery - 12 sheets, 3 stamped envelopes, 3 pencils (Pencils will be
                       in possession of officer when not in use.)

                12.    Religious tracts as issued by Institutional Chaplain

                13.    Legal documents, books, and papers as requested

                14.    Medication prescribed by institutional doctor (to be issued and used
                       under direct supervision only)

                15.    One walkman type radio (state owned)

                16.    One television outside door in front of cell (state owned)

                17.    Newspapers as requested and available (no more than two in cell at a
                       time)

                18.    Feminine hygiene items as necessary and appropriate

        E.      The inmate may order and purchase the following items on the first day of
                Death Watch status:

                1.     Soft Drinks (opened by officer and served in a paper cup)

                2.     Candy bars

                3.     Cookies, crackers, potato chips

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                Note: All orders and deliveries are inspected and delivered by the officer.
                      This includes removal of non-transparent candy wrappers. He avoids
                      handling of contents except with a napkin, tissue, or sanitary
                      disposable gloves.

        F.      Telephone Calls

                1.     The condemned inmate may receive authorized telephone calls while
                       in pre-execution monitoring status.

                2.     Specific instructions for each phone call are given by the Warden,
                       Associate Warden of Security or Death Watch Supervisor, and are
                       logged (no exceptions). Each phone call is supervised.

                3.     The inmate receives telephone calls from a special extension plugged
                       in at his cell location. When the telephone is not in use, the Control
                       Monitor personally ensures its security and storage away from the
                       cell.

        G.      Emergencies and Other Contingencies

                1.     If any employee is taken hostage, he is without authority regardless of
                       rank.

                2.     In the event of self-inflicted or other injury to the inmate, the Control
                       Monitor takes immediate and decisive action. He contacts the medical
                       clinic immediately to send a physician or ranking medical person if a
                       physician is not available.

                3.     The Control Monitor immediately notifies the Warden, Associate
                       Warden of Security, Death Watch Supervisor, and Shift Supervisor.




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                                                                                      Attachment 3
                            FLOOR OFFICER MONITOR
l.       The duties and responsibilities of this post are in the direct supervision and
         monitoring of a condemned inmate's activities during the final days of pre-execution
         monitoring.

2.       This officer may be a correctional officer or higher. The officer reports directly to the
         Control Monitor. The officer is posted in the area directly in front of the cells. He
         must remain alert on his post at all times, maintaining direct observation of the
         condemned inmate.

3.       Equipment required: radio with holster and restraints

4.       Specific Duties and Responsibilities

         A.     Immediate Action

                Upon notification, the officer assumes the duties and responsibilities as
                described herein, and the shift supervisor is alerted of the delegated
                assignment.

         B.     Routine Security Measures, Security Checks, and Logs

                1.     The Floor Officer Monitor closely observes the condemned inmate's
                       activities and immediately reports to the Death Watch Supervisor or
                       Control Monitor any unusual circumstances or activities.

                2.     He ensures that all eating utensils and trays are removed from the
                       cell when not in use.

                3.     He remains posted at the cell front, but may enter the condemned
                       inmate's cell with the assistance of a second officer if circumstances
                       warrant it.

                4.     The cell door key(s) remains in the possession of the Control Monitor
                       except as needed.

                5.     He converses freely with the inmate, but avoids opinionated or
                       inflammatory statements. He does not discuss personal feelings
                       regarding the death penalty. He does not make promises to the
                       inmate. All requests by the inmate not covered herein are referred to
                       the Death Watch Supervisor.

                6.     He does not leave his post unless properly relieved.

                7.     He visually inspects and thoroughly examines all items permitted into
                       or out of the inmate's cell. He carefully examines all clothing sent
                       from the clothing room.
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                8.     He performs a very thorough strip search of the inmate any time the
                       inmate enters or exits his ce!L

                9.     He exchanges the inmate's clothing any time the inmate enters or
                       exits the ce!L The same clothing may be reused until it becomes
                       soiled.

                10.    He ensures that the condemned inmate is handcuffed behind his back
                       any time he leaves his celL The inmate remains handcuffed until he is
                       returned to his celL The inmate may be handcuffed in front if a
                       restraint belt is used. Restraints may be removed if the inmate is
                       placed in a secure, non-contact visiting room.

                lL     He ensures that all post orders are being followed. It is expected that
                       all floor officer monitors conduct themselves in a professional manner.
                       A calm, mature atmosphere should be maintained.

                12.    The officer is responsible for the daily cleanliness of his area and the
                       cell areas. Normally, the day shift is responsible for sweeping and
                       mopping the entire area. However, the officer ensures that the area
                       remains in a state of cleanliness and trash containers are emptied
                       during his tour. All trash is to be personally removed by staff and
                       deposited in the appropriate containers located outside the secure
                       confines of the institution.

                13.    He maintains or causes to be maintained (by the Control Officer) a
                       Supervisor's Log of Activities.

                14.    He personally supervises the feeding of all meals during the shift. He
                       ensures that no inmates are utilized in the feeding of any meal to the
                       condemned inmate during an active Death Watch, including preparing
                       the trays.

                15.    He keeps all unauthorized personnel out of the area.

                16.    When the inmate on death watch is female, the floor officer monitor
                       ensures that a privacy screen is used to shield the inmate from sight
                       of male staff and visitors while she is showering, using the toilet, or
                       changing clothing.




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                                                                                     Attachment 3
        DEATH WATCH PROCEDURES - LETHAL INJECTION

                                     DAYl
                                 PROTOCOL A & B
    1. Security staff are assigned to posts in the Death Watch area. The supervisor is a
        Correctional Lieutenant or higher.

    2. Death Watch logs are activated during the entire Death Watch period. All activity
       unique to the Death Watch and execution must be documented. Areas addressed
       include, but are not limited to: inmate's behavior, actions, movements,
       communications initiated and received concerning Death Watch activities.

    3. The condemned inmate is moved to Death Watch status in Building 8.

    4. The inmate's property is inventoried and stored as specified in TDOC Policy #504.02.

    5. The institutional chaplain begins daily visits with the inmate.

    6. The visiting status of the inmate changes to non-contact.

    8. Designated personnel test execution-related equipment to include the closed circuit
       TV, telephones, intercoms, etc.

    9. Inmate clothing is obtained and issued as needed.

    10. The Chaplain requests instructions for release of the inmate's body in writing. If no
        recipient is designated, the Warden arranges for a pauper's burial.

                                     DAY2
                                 PROTOCOL A & B
    1. The Food Service Manager is advised of meal needs for TDOC and other agency
        support staff.

    2. The inmate orders his last meal.

    3. The Chaplain confirms funeral arrangements with the family, if available.




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                           DAY 3 - EXECUTION DAY
                              PROTOCOL A & B
    L Security Systems personnel test the closed circuit TV system and the audio system.

    2. The Food Service Manager prepares and serves the last meal. The inmate may
       request a special meal. The meal is provided within reason as determined by the
       Warden. Cost must not exceed $20.00.

    3. The Director of Communications and Public Relations arrives to handle media
        inqu1r1es.

    4. The LIC(s) is/are removed from secured storage and delivered to the Lethal Injection
       Room.




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                            DAY 3-EVENING SCHEDULE
                                   PROTOCOL A

5:00 pm

    1.   By prior planning, the Execution Team arrives and reports directly to the
         Executioner waiting area in Building 8. Their identities are known by the fewest
         number of staff necessary.

    2. Beginning at 5:00 pm, the only staff authorized in the capital punishment unit are:

            a.   Commissioner or designee
            b.   Warden
            c.   Associate Warden
            d.   Lethal Injection Recorder
            e.   Death Watch Supervisor and assigned officers
            f.   Chaplain
            g.   Physician and associate
            h.   Executioner (Executioner waiting area)
            L    IV Team
            J.   Extraction Team

         Any exceptions to the above must be approved by the Warden or
         Commissioner.

    3. The inmate is dressed in cotton trousers, shirt, cotton socks, or cloth house shoes.

    4. Official witnesses report to the Administration Building conference room no later
       than 5:30 pm. They are greeted by Escort Officers, processed through checkpoint,
       and moved to the Parole Board Room in Building 8, where they remain until final
       movement to the witness room.

    5. Immediate family members of the victim report to the Administration Building no
       later than 6: 15 pm and are greeted by Escort Officers. These witnesses are security
       cleared and escorted to the conference room in Building 8, where they remain until
       final movement to the victim family members witness room.

    6. The Lethal Injection Recorder or designee and designated EMTs report to the
       Execution Chamber for preparation. The Lethal Injection Recorder or designee
       checks the phones in the Execution Chamber.

    7. The Medical Examiner's staff and the physician are stationed in the capital
       punishment garage.




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6:30 pm
    1. Victim family member witnesses are secured in the Building 8 conference room by
        the Escort Officers no later than 6:45 pm.

    2. Official witnesses are secured in the Building 8 Parole Board Room by the Escort
       Officers no later than 6:45 pm.

7:00 pm
    1. Beginning at 7:00 pm, the only staff authorized to be in the Execution Chamber are
        the Warden, those TDOC employees designated by him to carry out the execution,
        the Attorney General/designee, and the Defense Counsel witness.

    2. At the command of the Warden or Associate Warden of Security, the Extraction
       Team approaches the holding cell and asks the condemned inmate to approach the
       cell door and be handcuffed. After being handcuffed, he is asked by the Extraction
       Team Leader to step back and place his hands above his head on the wall at the rear
       of the holding celL (If the condemned inmate refuses to cooperate, the Extraction
       Team enters the holding cell and removes the inmate).

    3. The Extraction Team places the condemned inmate on the gurney and secures him
       in restraints.

    4. The condemned inmate is moved to the Execution Chamber.

    5. The Lethal Injection Recorder or designee records the time the condemned inmate
       enters the Execution Chamber.

    6. The IV Team establishes IV lines into both arms as instructed in Section V of this
       manual.

    7. Official witnesses and victim family members are secured in the appropriate witness
       rooms.

    8. The Attorney General/designee and the Defense Counsel witness will exit the
       execution chamber and be secured in the official witness room.

    9. The closed circuit television camera and audio system are activated.




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7:10 pm
    1.   Blinds to the witness room(s) are opened by the Warden and Associate Warden of
         Security.

    2.   The Warden contacts the Commissioner to ensure that no last minute stay or
         reprieve has been granted.

    3.   The Warden permits the condemned inmate to make a last statement.

    4.   The Warden gives the signal to proceed, and the Executioner begins to administer
         the LIC. The Lethal Injection Recorder documents the time the process begins.

    5.   After the LIC and a saline flush have been dispensed, the Executioner shall signal
         the Warden.

    6.   Following the completion of the lethal injection process, and a five-minute waiting
         period, all blinds are closed, the closed circuit TV camera is disengaged, and the
         privacy curtain is closed. The Warden then asks the Physician to enter the room to
         conduct an examination. The Physician reports his findings to the Warden or
         designee. If the inmate is not deceased, the procedures on page 73 shall be
         followed.

    7.   The inmate is pronounced deceased by the Physician. The Lethal Injection Recorder
         or designee records the time that death is pronounced.

    8.   The Warden or designee announces that the sentence has been carried out and
         invites the witnesses to exit. The Warden announces the following: "The sentence of
         ~~~~~~~~~~-
                                   has been carried out. Please exit."

    9.   The witnesses are then escorted from the witness rooms by Escort Officers. After
         the witnesses exit, the Warden or designee notifies the Commissioner that the
         sentence of death has been carried out.

    10. The Commissioner or designee notifies all appropriate State officials that the
        sentence has been carried out. Media representatives are notified by the TDOC
        Director of Communications and Public Relations or designee.

    11. The Extraction Team removes the restraints.

    12. The Medical Examiner staff assists in removal of the body and placement in the
        Medical Examiner's vehicle, which is in the capital punishment garage.

    13. The Medical Examiner's vehicle is cleared to exit the facility.

    14. The Lethal Injection Recorder completes the Lethal Injection Execution Recorder
        Checklist. (See Section IX Forms)

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                            DAY 3 -EVENING SCHEDULE
                                   PROTOCOLB

5:00 pm

    1. By prior planning, the Execution Team arrives and reports directly to the
        Executioner waiting area in Building 8. Their identities are known by the fewest
        number of staff necessary.

    2. Beginning at 5:00 pm, the only staff authorized in the capital punishment unit are:

            a.   Commissioner or designee
            b.   Warden
            c.   Associate Warden
            d.   Lethal Injection Recorder
            e.   Death Watch Supervisor and assigned officers
            f.   Chaplain
            g.   Physician and associate
            h.   Executioner (Executioner waiting area)
            i.   IVTeam
            J.   Extraction Team

        Any exceptions to the above must be approved by the Warden or
        Commissioner.

    3. The inmate is dressed in cotton trousers, shirt, cotton socks, or cloth house shoes.

    4. Official witnesses report to the Administration Building conference room no later
       than 5:30 pm. They are greeted by Escort Officers, processed through checkpoint,
       and moved to the Parole Board Room in Building 8, where they remain until final
       movement to the witness room.

    5. Immediate family members of the victim report to the Administration Building no
       later than 6: 15 pm and are greeted by Escort Officers. These witnesses are security
       cleared and escorted to the conference room in Building 8, where they remain until
       final movement to the victim family members witness room.

    6. The Lethal Injection Recorder or designee and designated EMTs report to the
       Execution Chamber for preparation. The Lethal Injection Recorder or designee
       checks the phones in the Execution Chamber.

    7. The Medical Examiner's staff and the physician are stationed m the capital
       punishment garage.




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                                                                                     Attachment 3
6:30 pm
    1. Victim family member witnesses are secured in the Building 8 conference room by
       the Escort Officers no later than 6:45 pm.

    2. Official witnesses are secured in the Building 8 Parole Board Room by the Escort
       Officers no later than 6:45 pm.

7:00 pm
    1. Beginning at 7:00 pm, the only staff authorized to be in the Execution Chamber are
       the Warden, those TDOC employees designated by him to carry out the execution,
       the Attorney General/designee, and the Defense Counsel witness.

    2. At the command of the Warden or Associate Warden of Security, the Extraction
       Team approaches the holding cell and asks the condemned inmate to approach the
       cell door and be handcuffed. After being handcuffed, he is asked by the Extraction
       Team Leader to step back and place his hands above his head on the wall at the rear
       of the holding cell. (If the condemned inmate refuses to cooperate, the Extraction
       Team enters the holding cell and removes the inmate).

    3. The Extraction Team places the condemned inmate on the gurney and secures him
       in restraints.

    4. The condemned inmate is moved to the Execution Chamber.

    5. The Lethal Injection Recorder or designee records the time the condemned inmate
       enters the Execution Chamber.

    6. The IV Team establishes IV lines into both arms as instructed in Section V of this
       manual.

    7. Official witnesses and victim family members are secured in the appropriate witness
        rooms.

    8. The Attorney General/designee and the Defense Counsel witness will exit the
       execution chamber and be secured in the official witness room.

    9. The closed circuit television camera and audio system are activated.




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                                                                                 Attachment 3
7:10 pm
    1.   Blinds to the witness room(s) are opened by the Warden and Associate Warden of
         Security.

    2.   The Warden contacts the Commissioner to ensure that no last minute stay or
         reprieve has been granted.

    3.   The Warden permits the condemned inmate to make a last statement.

    4.   The Warden gives the signal to proceed and the Executioner begins to administer
         the first chemical. The Lethal Injection Recorder documents the time the process
         begins.

    5.   After 500 mgs of midazolam and a saline flush have been dispensed, the
         Executioner shall signal to the Warden, and await further direction from the
         Warden.

    6.   At this time, the Warden shall assess the consciousness of the condemned inmate
         by brushing the back of his hand over the condemned inmate's eyelashes, calling
         the condemned inmate's name, and gently shaking the condemned inmate.
         Observation shall be documented. The condemned inmate's unresponsiveness will
         demonstrate that the inmate is unconscious, and the Warden shall direct the
         Executioner to resume with the administration of the second and third chemicals.
         If the condemned inmate is responsive, the Warden shall direct the Executioner to
         switch to the secondary IV line. See Contingency Issues on p. 73

    7.   Following the completion of the lethal injection process, and a five-minute waiting
         period, all blinds are closed, the closed circuit TV camera is disengaged, and the
         privacy curtain is closed. The Warden then asks the Physician to enter the room to
         conduct an examination. The Physician reports his findings to the Warden or
         designee. If the inmate is not deceased, the procedures on page 73 shall be
         followed.

    8.   The inmate is pronounced deceased by the Physician. The Lethal Injection Recorder
         or designee records the time that death is pronounced.

    9.   The Warden or designee announces that the sentence has been carried out and
         invites the witnesses to exit. The Warden announces the following: "The sentence of
         ___________ has been carried out. Please exit."

    10. The witnesses are then escorted from the witness rooms by Escort Officers. After
        the witnesses exit, the Warden or designee notifies the Commissioner that the
        sentence of death has been carried out.

    11. The Commissioner or designee notifies all appropriate State officials that the
        sentence has been carried out. Media representatives are notified by the TDOC
        Director of Communications and Public Relations or designee.
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                                                                                  Attachment 3
    12. The Extraction Team removes the restraints.

    13. The Medical Examiner staff assists in removal of the body and placement in the
        Medical Examiner's vehicle, which is in the capital punishment garage.

    14. The Medical Examiner's vehicle is cleared to exit the facility.

    15. The Lethal injection Recorder completes the Lethal Injection Execution Recorder
        Checklist.




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                                                                              Attachment 3
                                POST EXECUTION
                                PROTOCOL A & B
    1. The body is transported to the State Medical Examiner for examination and release.

    2. The Assistant Commissioner of Prisons conducts an operational debriefing at the
       appropriate time.

    3. The Commissioner arranges for or mandates an EAP debriefing as needed.




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                                                                                Attachment 3
                             CONTINGENCY ISSUES
                               PROTOCOL A & B

IV Line Alternatives

The cut-down procedure is used unless the Physician chooses a different method to find an
IV site.

Interruptions of the delivery of the lethal injection drugs in the primary IV line

The Executioner switches to the secondary IV line and, starting with syringe #1 (blue),
begins the administration of the second set of syringes using the reserve tray.

Repeating the Lethal Injection Process

If the inmate is not deceased after the initial set of syringes has been injected, the physician
returns to the designated waiting area. The curtain is opened, blinds raised, camera
activated, and the Warden gives the command to repeat the lethal injection procedure with
the second set of syringes (blue). After this procedure is completed, the blinds will once again
be closed, closed-circuit TV camera disengaged, and the privacy curtain closed. The Warden
will once again ask the Physician to enter the room and check for signs of life.




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                                                                                    Attachment 3
                          VII. VICTIM SERVICES




          RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                                                      Attachment 3
                                  VICTIM SERVICES
Notification

The TDOC Victim Services Director works closely with the victim liaison from the Attorney
General's Office, to confirm the list of victims/family members/interested parties registered
for notification. Letters and packets are sent to each. The letter is specific to the registrant's
permission to view the execution, as mandated by law:

    •   Victim family members: Those who are permitted to witness the execution. These
        persons receive a letter, requesting their choice to witness or attend the execution.
    •   Other victim family members: Extended family members who may wish to attend
        the execution to provide support to those who are permitted to view the execution,
        but by law, are not personally allowed to view the execution.
    •   Other interested party/support persons: Persons identified by victim family
        members who would attend the execution to provide support to those who are
        permitted to view the execution, with permission granted on a case-by-case basis by
        the Warden.

Packets include:
   • Cover letter
   • Official letter
   • Official response forms
   • Copy of the TN law 40-23-116 Manner of executing sentence of death -- Witnesses
   • DVD "The Other Side of Death Row"
   • Booklet "What to Expect at an Execution"
   • Map
   • Media guidelines
   • Critical Incident Stress Management flier

These notifications are sent out to correspond in time to the announcement of the media
lottery.

The Victim Services Director prepares a list of persons who plan to witness the execution,
and of those who plan to attend the execution. The Victim Services Director will
communicate any desire to speak to the media to the TDOC Director of Communications
and Public Relations.

Accompaniment

The facility provides a private room in the Administration Building for persons viewing and
attending the execution to use. Those witnessing or attending the execution are brought to
the facility by the Attorney General's Office at a time agreed upon by TDOC Central Office
and the Warden. The Victim Services Director meets them at the facility and escorts them
to the private room. This room provides a place for witnesses to leave belongings and for
attendees to wait for the return of the witnesses.


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The Victim Services Director will accompany witnesses through the execution process. A
designee will be assigned to remain and wait with any persons who accompany and wait in
the Administration Building for witnesses to return.

At the time determined by the Warden/designee, the witnesses are processed through the
check-point and taken into the prison facility room(s) next to the visitor galley, where they
will remain until escorted into the victim's viewing room for the execution.

After the execution is completed, the witnesses are escorted back to the Administration
Building where they are reunited with any persons who were there waiting for them. The
TDOC Director of Communications and Public Relations will arrange for witnesses to speak
to the media should they desire to do so. Afterward, the entire group will be escorted out of
the prison to their awaiting vehicles.




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                                                                                   Attachment 3
                                 IX.   FORMS




          RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                                                      Attachment 3
         NOTIFICATION LETTER TO SHERIFF'S OFFICE TO WITNESS
                        EXECUTION OF INMATE




                                        STATE OF TENNESSEE
                                  DEPARTMENT OF CORRECTION
                            RIVERBEND MAXIMUM SECURITY INSTITUTION
                                 7475 COCKRILL BEND BOULEVARD
                                 NASHVILLE, TENNESSEE 37243-0471
                            TELEPHONE (615) 350-3100 FAX (615) 350-3400

Date

John Doe, Sheriff
Tennessee County Sheriff's Department
PO Box 000
City, TN 37209

Dear Sheriff Doe:

Records of the Tennessee Department of Correction reflect that on                      , inmate
_ _ _ _ _ _ _ _ _ _ _ _ was convicted of First Degree Murder and sentenced to Death regarding
_________ County case #                          An order has been received scheduling inmate
_ _ _ _ _ _ _ _ _ _'s execution for                      The execution is scheduled for _ __
(CST) on that date.

Pursuant to TCA 40-23-116, the sheriff of the county in which the crime was committed is entitled to
be present at the carrying out of such death sentences.

The Tennessee Department of Correction needs to know if you are interested in viewing the legal
execution of inmate                          . In order to expedite this process, please sign and date
on the respective line below indicating your intentions. Afterwards, fax the letter with your
signature to my office at the Riverbend Maximum Security Institution at 615-350-3400. If you plan
to attend, provide a telephone number where you may be contacted day or night. Further, you
should be at the Riverbend Institution by 5:30 pm on                                   and bring your
notification letter with you, along with a picture ID. Upon arrival at the facility, please present the
letter to the Checkpoint Officer. If you have any questions regarding this matter, please feel free to
contact me by calling 615-350-1103,, extension 3103, for further information.



Warden

ABC:aa

I will attend.                   Signature                               Date
                                 Telephone No. _ _ _ _ _ _ _ __
I will not attend.               Signature                               Date
                                 Telephone No. _ _ _ _ _ _ _ __

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                                                                                            Attachment 3
          NOTIFICATION LETTER TO INMATE'S FAMILY TO WITNESS
                             EXECUTION




                                        STATE OF TENNESSEE
                                  DEPARTMENT OF CORRECTION
                            RIVERBEND MAXIMUM SECURITY INSTITUTION
                                 7475 COCKRILL BEND BOULEVARD
                                 NASHVILLE, TENNESSEE 37243-0471
                            TELEPHONE (615) 350-3100 FAX (615) 350-3400

Date


Ms. Mary Jane Smith
PO BoxOOO
City, TN 37209

Dear Ms. Smith:

Records of the Tennessee Department of Correction reflect that on                      , inmate
_ _ _ _ _ _ _ _ _ _ _ _ was convicted of First Degree Murder and sentenced to Death regarding
_________ County case #                          An order has been received scheduling inmate
_ _ _ _ _ _ _ _ _ _ 's execution for                   . The execution is scheduled for 7:00 pm
on that date.

Pursuant to TCA 40-23-116, members of the condemned inmate's immediate family may be present
at the carrying out of such death sentence. Records indicate that you are the _ _ _ _ _ _ _ __
of inmate                          ; therefore, you are eligible to be present.

The Tennessee Department of Correction needs to know if you are interested in viewing the legal
execution of inmate                          . In order to expedite this process, please sign and date
on the respective line below indicating your intentions. Afterwards, fax the letter with your
signature to my office at the Riverbend Maximum Security Institution at 615-350-3400. If you plan
to attend, provide a telephone number where you may be contacted day or night. Further, you
should be at the Riverbend Institution by 5:30 pm on                                   and bring your
notification letter with you, along with a picture ID. Upon arrival at the facility, please present the
letter to the Checkpoint Officer. If you have any questions regarding this matter, please feel free to
contact me by calling 615-350-1103, extension 3103, for further information.



Warden

ABC: aa

I will attend.                   Signature                               Date
                                 Telephone No.

I will not attend.               Signature                               Date
                                 Telephone No.

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                                                                                            Attachment 3
                   PHYSICIAN'S INVENTORY CHECKLIST

           (4)   5cc syringes

           (4)   Small tubes Betadine ointment

           (12) Pair gloves (sterile), size 7'h

           (12) Pair gloves (sterile), size 8

           (2)   Prep kits

           (2)   BP cuffs

           (2)   Stethoscope(s)

           (1)   Flashlight with batteries

           (8)   Cbux

           (4)   Cut-down trays

           (2)   Lidocaine 2%

           (2)   Lidocaine 2% with Epinephrine

           (2)   4-0 vicryl

           (2)   4-0 ethilon sutures

           (1)   5-0 vicryl

           (2)   5-0 ethilon sutures

           (2)   PPE size XL

           (1)   PPE size XXL

           (2)   Faceshields

           (1)   Scissors

          (2)    Scalpel #11 & #15




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                       IV TEAM INVENTORY CHECKLIST

           Normal saline 1000 cc or more

           Solution set

           Extension tubing sufficient to reach condemned inmate

           Tourniquets - various styles

           Assortment of IV catheters (range 18 gauge to 21 gauge)

           Assortment of surgical tape

           Arm boards

           Tegaderm transparent dressing

           Alcohol pads

           Sharps container

           4x4 Gauge pads

           Red biohazard bag

           Chux

           Latex-free gloves




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                                                                       Attachment 3
                            PROTOCOL A:
                  CHEMICAL PREPARATION TIME SHEET



                                    RED

5 grams Pentobarbital                                     Time

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __


Saline

I-Syringe prepared by_ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __



                                    BLUE
5 grams Pentobarbital                                     Time

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ _.

Witnessed by _ _ _ _ _ _ _ _ _ _ __


Saline

I-Syringe prepared by_ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ _ .

Witnessed by _ _ _ _ _ _ _ _ _ _ __




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                                                                      Attachment 3
                            PROTOCOLB:
                  CHEMICAL PREPARATION TIME SHEET

Date _ _ _ _ _ __

                                    RED
500 mg Midazolam                                         Time

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __

100 mgVecuronium Bromide

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __

240 mEq Potassium Chloride

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __

Saline

3-Syringes prepared by_ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __




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                                                                      Attachment 3
                                    BLUE

500 mg Midazolam                                         Time

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __

100 mg Vecuronium Bromide

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __

240 mEq Potassium Chloride

2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ _.

Witnessed by _ _ _ _ _ _ _ _ _ _ __

Saline

3-Syringes prepared by_ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ __

Witnessed by _ _ _ _ _ _ _ _ _ _ __




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                                                                      Attachment 3
      ])AY OF EXECUTION - LETHAL INJECTION EXECUTION RECOR])ER
                              CHECKLIST

Inmate Name _____________ Inmate#______

])ate _ _ _ _ _ _ __

  TIME

                       Report to designated area for final briefing

                       Extraction Team and IV Team report to Death Watch Supervisor's office for final
                       briefing. IV Team sets up IV system.

                       Physician in place

                       IV Team in place (EMTs and Officers)

                       Medical Examiner in place

                       Team Leader in place

                       Check blinds and curtains

                       Advise Escort Officer to transport Official Witnesses to Parole Room

                       Advised by Escort Officer that Official Witnesses are in Parole Room

                       Advise Escort Officers (2) to escort Victim's Witnesses to Viewing Room

                       Advised by Escort Officers (2) that Victim's Witnesses are in place

                       Warden or designee checks to ensure execution is to proceed

                       Gurney positioned in Death Watch Area

                       Extraction Team enters cell and secures condemned inmate to gurney

                       Advise Escort Officer to transport Official Witnesses to Death Watch vestibule

                       Advised by Escort Officer that Official Witnesses are in the vestibule

                       IV Team enters the Execution Chamber

                       IV Team exits the Execution Chamber

                       Advise Escort Officer to "Transport Official Witnesses in place"

                                                                      Recorder's Initials _ _ __




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                                                                                                 Attachment 3
       DAY OF EXECUTION - LETHAL INJECTION EXECUTION RECORDER
                          CHECKLIST (continued)


Inmate Name _____________ Inmate#______

Date _ _ _ _ _ __

   TIME

                       Advised by Escort Officer that "Witnesses are in place"

                       Warden checks with Command Center to proceed

                       Warden orders blinds opened, closed circuit TV activated, and audio activated for
                       v1ew1ng rooms.

                       Warden asks inmate for any last comments

                       Warden orders Execution Team to proceed

                       Lethal Injection process completed

                       Blinds and curtains closed and closed circuit TV deactivated

                       Physician enters the Execution Chamber

                       Physician pronounces death - exact time

                       Audio deactivated to witness rooms

                       Advise Escort Officers (2) to remove Victim's Witnesses

                       Advise Commissibner or designee in Command Center that execution is
                       completed

                       Physician and EMTs depart

                       Medical Examiner escorted to chamber to take possession of body_ Pictures will
                       be taken of body and Execution Chamber prior to removal of body

                       Advised by Escort Officer (2) Victim's Witnesses are at Checkpoint

                       Advise Escort Officer to remove Official Witnesses

                       Advised by Escort Officer that Official Witnesses are at Checkpoint

                       The body removed from the institution

                                                                    Recorder's Initials _ __



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                                                                                              Attachment 3
       DAY OF EXECUTION - LETHAL INJECTION EXECUTION RECORDER
                          CHECKLIST (continued)

Inmate Name _ _ _ _ _ _ _ _ _ _ _ Inmate#_ _ _ __

Date _ _ _ _ _ __


Inmate's Comments if any:




Lethal Injection Recorder             Date




Warden                                Date




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                                                                      Attachment 3
                              PROTOCOL A:
 LETHAL INJECTION CHEMICAL ADMINISTRATION RECORD

Inmate Name _ _ _ _ _ _ _ _ _ _ Inmate#_ _ __

Date _ _ _ _ _ __



                                 SET 1         (Red)

                              Chemical                 Time Begin

        Syringe 1             Penta barbital

        Syringe 2             Pentobarbital

        Syringe 3             Saline

                                                 End Time - - - -



        Recorder Signature _ _ _ _ _ _ _ _ _ _ __

        Warden _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                               PROTOCOL A:
 LETHAL INJECTION CHEMICAL ADMINISTRATION RECORD

        Inmate Name- - - - - - - - - - Inmate#           ---~



        Date- - - - - - -

                                 SET 2         (Blue)


                               Chemical                 Time Begin

        Syringe 1              Pentobarbital

        Syringe 2              Pentobarbital

        Syringe 3              Saline

                                                   End Time - - - -



        Recorder Signature _ _ _ _ _ _ _ _ _ _ __

        Warden
                  -----------------




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                                                                       Attachment 3
                              PROTOCOL B:
LETHAL INJECTION CHEMICAL ADMINISTRATION RECORD

Inmate Name._ _ _ _ _ _ _ _ _ _ _ Inmate#_ _ _ __

Date._ _ _ _ _ __

                                 SET 1       (Red)

                              Chemical                Time Begin

        Syringe 1             Midazolam

        Syringe 2             Midazolam

        Syringe 3             Saline

        Syringe 4             Vecuronium Bromide

        Syringe 5             Vecuronium Bromide

        Syringe 6             Saline

        Syringe 7             Potassium Chloride

        Syringe 8             Potassium CbJoride

        Syringe 9             Saline



                                                End Time - - - -

        Recorder Signature _ _ _ _ _ _ _ _ _ _ _ _ __

        \Varden _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                                                                      Attachment 3
                              PROTOCOLB:
LETHAL INJECTION CHEMICAL ADMINISTRATION RECORD

        Inmate Name_ _ _ _ _ _ _ _ _ _ _ Inmate#_ _ _ __

        Date- - - - - - -

                                SET 2       (Blue)


                              Chemical                Time Begin

        Syringe 1             Midazolam

        Syringe 2             Midazolam

        Syringe 3             Saline

        Syringe 4             Vecuronium Bromide

        Syringe 5             Vecuronium Bromide

        Syringe 6             Saline

        Syringe 7             Potassium Chloride

        Syringe 8             Potassium Chloride

        Syringe 9             Saline

                                                   End Time




        Recorder Signature _ _ _ _ _ _ _ _ _ _ _ _ __

        \Varden _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                                                                      Attachment 3
                                     State of Tennessee

                              DEPARTMENT OF CORRECTION

                                         News Release

The Department of Correction reports that pursuant to the order of the
Tennessee Supreme Court and in accordance with state law, the capital
punishment sentence of                                       has been
carried out.


Time of execution was ________ am/pm on _ _ _ _ _ _ _ _ _ _ _ __
                                                 (date)

                                                was pronounced dead by attending
                       (Inmate's name)

physician at - - - - - - - - - - - - am/pm.




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                                                                         Attachment 3
                  Affidavit Concerning Method of Execution
Under Tennessee law, you have the right to have your execution carried out by lethal injection. You
also have the option of waiving this right and choosing electrocution as the method of your execution.
The purpose of this affidavit is to allow you an opportunity to either waive your right to have your
execution carried out by lethal injection or to decline to waive that right. Failure to complete this
form will result in the execution being carried out by lethal injection. You will not be given another
opportunity to waive your right to have your execution carried out by lethal injection. If you waive
your right to have your execution carried out by lethal injection, you may rescind that waiver by
contacting the Warden no later than 14 days prior to the date of the execution and signing a
new affidavit to that effect.



I,                                , TDOC.#            , make the following choice concerning the
method ofrny execution set to be carried out on the _ _ day of ______

        ___ I waive the right to have my execution carried out by lethal injection and choose
             to be executed by electrocution.


                                                                  Signature oflnmate


        ___ I have been given the opportunity to waive my right to have my execution carried
             out by lethal injection and I decline to waive that right.


                                                                  Signature of Inmate


I  certify that  I   presented  this  Affidavit Concerning                 Execution     to     inmate
_ _ _ _ _ _ _ _ _ _ _ _ , TDOC No. _ _ _ _ _ _ _ _ , and

      ___ The inmate refused to sign.

      ___ I witnessed the inmate sign this affidavit.



                                                                  Signature of W arden/Designee



Sworn to and subscribed before me this ___ day of _________ , 20__ .


                                                                  Notary Public
My Comn1ission expires _ _ _ _ _ _ _ _ __




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                                                                                              Attachment 3
                                            STATE OF TENNESSEE
                                     DEPARTMENT OF CORRECTION
                                     4" FLOOR RACHEL JACKSON BLDG.
                                         320 SIXTH AVENUE NORTH
                                     NASHVILLE, TENNESSEE 37243-0465

     APPLICATION FOR NEWS MEDIA REPRESENTATIVE
    TO ATTEND AN EXECUTION OF A SENTENCE OF DEATH

Name of Inmate Under Sentence of Death

Name of News Media Outlet

Name of News Media Representative

Mailing Address

Phone                                                      Fax

E-Mail Address

Indicate the news media pool to which the applicant news media agency is to be
assigned.

             News Media Agency (print, radio or television) in the county
             where the offense occurred (if print, also designate Metro or
             Community below)

             Associated Press

             Metro Print Media Agency

             Community Print News Media Agency

             Other Television News Media Agency

             Other Radio News lVCedia Agency
PLEASE NOTE: The Department will accept only one (1) application from each news media agency. A person
may be named as a News Media Agency Representative on only one (1) application. No news media agency
representative selected to witness the execution of a sentence of death shall have exclusive rights to the story.
Immediately after the execution of the death sentence is complete, all media representative witness shall make
themselves available for a news conference for other news media representatives not selected to attend the
execution. Submission of an application constitutes acceptance of this condition.



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                                                                                                     Attachment 3
                                                                RU_ES
                                                                  OF
                                                      DEPARD!El\T OF CORRECT!Ol\
                                                       ADrLT SERVICES DIYIS!Ol\

                                                      CJHPTER 0420-3-4
                            SELECTIOX OFl\l':WS '.l!EDIA AGE'.'>CY REPRESENTATI\l':S TO ATTEl\D
                                        Ai'< EXEClTIOX OF A DEATH SENTE:"Cl':

                                                             TABLE OF CONTEl\TS

      (}.[.J.0-3..-4-.01        Preface                                      0420-3~--0-l       Application and Selecticu Proces;
      Ml0-3-4-.C(!              Applicability                                Oc!-20..3--4-_05   \Vitne~s Guidelines
      0420-3-4-.03              Definitions


      0420-3-~_0l           PREFACE

      l:nder the autl1ority· of T .C.A. §40-23-116. the Departtnent of Correctiru1 is authorized to promulgate nlles tlrat
      establish criteria for the selection of ne:..-..rs media representatives to attend au execution of a sentence of deatlL

      A11lhori(l-': T.C~4. §40-23-116. Ad111i11istratii•e lTutory: Originai role.filed July 28, 1999;                ~Vovember      29, 1999.
      Repeal and ntm' rule.filed }loi-mnber 22, 2000; effective FebruaJJ' 6, 2001.

      0420-34-.02 APPLICABILITY

      Pursuant to the authority of T .C.A. §40-23-116, the.se rules shall apply to all ne\vs media agencies and their
      representatives.

     .4utltoriJy: T.C.A. §40-23-116. Adini11istralit~ History: Original rule filed July 28, 1999; November 29, 1999.
      Repeal nnd new rufojiled _,Vovenber 22, 2000; effective Februa1J' 6, 2001.

      0420-3-4-.03 DEFll\TilONS

                 (1)       Comnruuity Print Ne\vs Media Agency: A Print Nev."5 Media Agency other than a Metro Print Ne\vs
                           Media Agency.

                 (2)       General lntcrest and Coverage: The handling of a broad :range of spot ne;.vs such as traffic accidents.
                           fires, disasters, governmental events, as well as economic, business, social, sports, and human interest
                           ne'\VS.

                 (3)       Metro Print Ne""°" Media Agency: A Print Nelh<s Media Agency '\\'hich maintaim. a full-time pi-t\..ence
                           at the state Capitol. covering day-to-day operations of state govei-ument.

                 (4)       Ne\vsMedia Agency: A P.riu.t. Radio o:r Tele\.ision News Media Agency or The Associated Press_

                 (5)       Xews Media .4.gency Representative: A person Regularly Eru}>loyed by a News Media Agency and
                           designated by such Ne'\VS ?l.1edia Agency to attend and \vime_s.s an execution of a death sentence on
                           behalf of the New Media Agency.

                 (6)       Print ?\e\-.;~ Media Agency: A newspaper of general circufation. bearing a title 01: nai.ne, regularly
                           is.sued at le-as.:t as frequently as ouce a \Veek for a definite price. having second class niailing pri\-ilege.
                           being not less than four (4) pages, published continuously during the illllnediately preceding: oue-year
                           period, '\vhich is published for the dissenlln.1.tion of neivs of general interest, coverage and circulation
                           in an area \vithin Tennessee.




     Febntaty. 2001 (Re\-i<;;ed)




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          SELECTIO:'.\' OF NEWS :V1EDL"- AGThCY REPRESENTATIVES                                                    CHAPTER 0420-3-4
          TO A TTThTI AN EXECUT!Ol' OF A DEATH STh-rENCE

          (Rule 0420-3-4-_03_ cont1uued)

                  (7)     Radio Ke\vs Media Agency: The Tennesse-e- Rad.to Ket\vork or a radio broadcast :.tatiou \vhich
                          regularly disseminates ne,vs of ge11eral interest au..i coverage and has either it<> city of license (as
                          determined by the federal goYennnent) or broadcast transmitter located in Tennessee.

                  (8)     Regularly Eniployed: Employed on a consistent, continuing basis and not solely for the- purpose of
                          \\itues,siug an execution of a sentence of death or othenvise on a temporary or short-tenn basis_

                  (9)     Television Nev.:s Media Agency: A television broadca-st station which regularly disse1ninate'5 news of
                          general interest ruld coverage and has either its city of license (as detennined by the federal
                          gove.nunent) or broadcast transmitter located in Tennessee.

                  (10)    \Varden: \Varden of the Riverbend Maxll11um Security hu;titution_

          Autltority: T.C.A. § 40-23-115,· § 40-23-116. Atb11i11is1rari-re Hlltory: Original rule filed 1Vovember 21, 2000;
          effec.tiveFebnmry 6, 1001.

          0420-3-4-_04 APPLICATIO'\' Al'll SELECTION PROCESS

                  (I)     Tue selection of Ne\-vs Media Agency R.fpresentative-s shall he by dra\\ci.ng to ~ held at Riverbend
                          Maximlun Security Institution, 7475 Cockrill Bend Itldustrial Road, Na!.hville. Tet:lnessee.

                  (2)     The Public Infonnation Office of the Department of Correction shall notify all Ne..''"" 1'.1edia Agencies
                          of a scheduled dra'\ving thcough issuance- of an advisory to the Associated Press. An announcement
                          '\\-:ill also be published in the- Tennessee Admini&trative Register,_ pro.,-ide-,d, ho\vever, in the e-vf!lt the
                          Department has i11sufficient ad'\-"ance notice of an execution date to n1e-et publication deadlines for the
                          Tennessee Administrative Register, the announcement shall be is&ued as soon as practicable after the
                          Department receives notice of the execution date.

                  (3)     The advisory and announcement shall include the follo,;,.ing:

                          (a}      Deadline date. rime and location foe receiving applications frotu a Ne\>.--s Media Agency desiring
                                   to be included in the open drM-ving: to witness the execution of the death sentence.

                          (b)      Date. time, and location '\vhere- th:;- open dr.nving 1.%-:ill take place.

                  (4)     To be eligible for the -dra·wing., a Ne\\.-s !'..ieclia Agency shall submit an application on a form provided
                          by the Departu1ent of Correction on or before the deadline specified in the ad"-lsory and'or notice. The-
                          applica11t agency shall designate its Nei.vs Media Agency Repres.entative and the news n1e<lia pool for
                          ,~;hi ch it qualifies tmdec these rules. The Departrnent will accept only one (1) application from each
                          News Media Agency. A pecsou. may be named as a Ne\vs Media Agency Representative on only one
                          (1) application

                  (5)     Tue Warden or desiguee shall assign an identifying ntunber to each application n:·ceiYed. Prior to the
                          commencement of the dnuving the \Vacden or designee shall post a list containing the Ne,vs Media
                          Agency name. News Media Agency Representative name. number and assigned category of each
                          application v..·hich xneets the requirements set forth in this rule.

                  (6)     Procedute for Drawing:

                          (a)      Fron1 those applications receiYed which meet the requiretuents set forth in this iule, a total of
                                   seyen (7) Ne\\"S Me-dia Agencies shall be selected. The agencies shall k selectt"d fro111 the
                                   folluwing categorie!"> in the follo\ving order:

                                           111e As:;,ociaud Press (one application);



          F ebnrary. :'.00 l   (Revis~d)                                   2




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          SELECTION OF NEWS ~1EDL"" AGENCY REPRESENT AIB'ES                                                         CHAPTER 0420-3-4
          TO ATTTh~ fu'\EXECCTION OF A DEATH STh"TENCE

          (Rule 0420-3--4-_04_ continue-cl)



                               2.      One 1\e\\'S Media Agency in the county \\rhere the offense occurred;

                               3_      One h.1etto Print Ke\\'£ l\1edla Agency;

                               4.      One Community Print Ne\\,-'> Media Agency;

                               5_      T\vo Television "t\e\\"S :Media Agencies; and

                               6.      One Radio Ne\vs Media Agency.

                        (b)    In the event more than one qualifying application is received for category (a)(ii), the
                               applications not selected in that category shall be reassigned to appropriate categories.

                        (c)    If one or more categories cannot be filled due to an insufficient number of qualifying
                               applications in the category, qualifying applications remaining after all other selections have
                               been made shall be con1bined into one selectiou pool fro1u \Vhich an application shall be dra\vn
                               to fill each unfilled 1>0!.1tiou.

                        (d)    After seven (7) Ne\<vs ~1edia Agency Representati\•es have been selected through the process set
                               out in (a) through (c), all :remaining applications shall be combine-d into one selection pool from
                               "\vhich a first alternate and a second altenmte shall be dra\\'Il_ Alternates shall be allov.'ed, in
                               orrlei- of selection, to substitute for a ~e\'+:s Media Agency Representative selected as a witness
                               v.ilo .is unable to attend and •Vitness tbe: exeoition of a death sentence.

                 (7)    After the dra\\'ing the Departmellt of Correction shall promptly issue an advisory to the Associated
                        Press identifylng the Nev.-s Media Agency Representatives selected.

                 (8)    News Media Agency RepresentatiYes shall be subject to the approval of the Vlardeu. The Warden
                        niay, in the. Warden's discretion, disappro.-e or exclude. a \Vitness for reasons of safety or security. No
                        Ne\vs Media Agency Representative shall be related t-0 the condemned prisoner or the- condemned
                        prisone£'s "-ictim or victitus or hav-e any personal :interest in the case_ Ne\\'-:s Media Agency
                        R.epresentati've.s orust be eighteen (18) years of age or older.

                 (9)    Tile Department of Correction \\'ill allow no substitution of Nev•'S Media Agencies or NeR-s Media
                        Agency Repre,seutatives.

                 (10)   In the event the execution does not take place- v,;i.tbin one (1) year of the- date- of the drawing, the
                        Comn1issioner, in the Commissioner's sole discretion, niay cane.el the re-suit of a dra\'\'iug and. if
                        necessary. dire<:t that a 1ie\-': dta'\'1,-iug be held_

          Authority: TC.A. § 40-23-116.          Admiuisrratb•e History:        Original rule filed .;Vov(!n1/xJr 12, 2000;       eifectii'fl
          Februa1y 6, 2001.

          0420-34.-05 \HT1'.-JcSS GFIDELIXES

                 (1)    No Xe\:i.·s Media Age-UC)' Repres...."1ltati...-e allo\·•.ted to \'+:"itness the execution of a death sentence shall
                        have- e.x.clusi\·e rig)U..c; to the ::.tory_ Immediately after the execution of the death M".ntence is c01nplete,
                        all Ne\\·s Media •.:\.gency Repre!i.entatives shall make theniselves a\·ailable for a news conference of
                        other ne-.vs rne-dla representatives and shall renmin at the news conference u11til it is completed_

                 (2)    Tue ue\vs conference shall be held at a location designated by the \Varden inlllledia1ely follotving thf.
                        e-xecutton.




          February. 2001 (ReYi<..ed)                                   3




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           SELECTIO:'i OF NEWS :v!EDIA AGEKCY REPRESE"1TA TIVES                                              CHAPTER 0420-3-4
           TO A TTThlJ M EXECUTIOJ\ OF A DEATH SEJ\"TENCE

           (Rule 0420-3-4-.05. contu1ued)

                 (3)   Photographic or recording equipment are prohibited at the execution site during the execution.

                 (4)   Ne\vs Me-dia Agency Representatives shall abide by all departmental and institutional rules and
                       policies, and the directives of authorized staff Failure of a \\'itness to do so rnay reSl1lt in the \Vitness
                       being excluded and /or removed from the premises_ TI1e Ne\VS Media .4.gency Representative and the
                       New-:. Media Agency being represented shall be ineligible to attend fiiture executions without the
                       specific approv--al of the Connnissioner.

           _4urhority: T.C~4. § 40-23-116.     Admiuistrath·e History:      Original rule filad ,Vovember 22, 2000;        effective
           Februa1y 6, 2001.




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                Affidavit to Select Defense Counsel Witness to Execution

Under Tennessee law, TCA 40-23-116, you may select one (1) defense counsel to witness
your scheduled upcoming execution. The Department of Correction needs to know who you
are selecting to be your witness.




!, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , TDOC#_ _ _ _ _ _ _ , select the

following defense counsel witness:



                                         Signature of Inmate                    Date




I certify that I presented this Affidavit to Select Defense Counsel Witness to Execution to
inmate

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , TDOC# _ _ _ _ _ _ _ _ ,and

        _ _ _ The inmate refused to sign.

                  I witnessed the inmate sign this affidavit.



                                        Signature of Warden/Designee            Date



Sworn to and subscribed before me this _ _ _ day of _ _ _ _ _ _ _ _ _, 20_ _ __

                                        My Commission e x p i r e s - - - - - - - - - -
Notary Public




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                                                                                    Attachment 3
                                         TENNESSEE DEPARTMENT OF CORRECTION
                                        RIVERBEND MAXIMUM SECURITY INSTITUTION

                                           LETHAL INJECTION CHEMICAL BIN CARD



          CHEMICAL NAME:                                                                           REFERENCE NUMBER


                   UNITOF I S S U E : - - - - - - - - - - - - -                                     LOCATION: - - - - - - - - - - - -




                            RECEIVED        ISSUED           EXPIRATION                                 BALANCE ON
                  DATE          I+\            (-)              DATE                                       HANO          SIGNATURE




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                                                                                                                                Attachment 3
                               PHARMACY SERVICES AGREEMENT
--------------~




       This PHARMACY SERVICES AGREEMENT ("Agreement") is being made and entered into by
and     between                                                     ("Pharmacy")     and
-------------("Department") on this _day                                   , 2017, and is
being made for the purposes and the consideration herein expressed.

                                     W I T N E S S E T H:

        WHEREAS,       Pharmacy       is     a     pharmacy        licensed     in     the

_that provides controlled substance and compounded preparations to practitioners for office
use; and

        WHEREAS, Department is a State of Tennessee governmental agency that is responsible
for carrying out sentences of death by means of lethal injection; and

        WHEREAS, Department desires to engage Pharmacy to provide Department with certain
controlled substances and/or compounded preparations for lethal injection administration by the
Department to those individuals sentenced to death; and

        WHEREAS, Pharmacy and Department have agreed to enter into this Agreement setting
forth the terms under which Pharmacy will provide certain controlled substances and/or
compounded preparations to Department for use in lethal injection.

      Now, THEREFORE, in consideration of the covenants and agreements set forth herein,
Pharmacy and Department hereby agree as follows:

                                           Article 1
                                           SERVICES

        1.1     Controlled substance.       Upon a written request, which may be sent
electronically via facsimile or electronic mail, by Department, Pharmacy shall provide
Department with the requested controlled substance. Quantities of the controlled substance
shall be limited to an amount that does not exceed the amount the Department anticipates may
be used in the Department's office or facility before the expiration date of the controlled
substance and is reasonable considering the intended use of the controlled s_ubstance and the
nature of the services offered by the Department._For controlled substance, Pharmacy shall
dispense all drugs in accordance with applicable licensing regulations adopted by the
                                                    and the United States Food and Drug
Administration that pertain to pharmacies dispensing controlled substance.

        1.2    Compounding Preparations.       Upon a written request, which may be sent
electronically via facsimile or electronic mail, by Department, Pharmacy shall provide
Department. with the requested compounded preparation. Quantities of the compounded
preparation shall be limited to an amount that does not exceed the amount the Department
anticipates may be used in the Department's office or facility before the expiration date of the
compounded preparation and is reasonable considering the intended use of the compounded
preparation and the nature of the services offered by the Department. For compounded

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preparations, Pharmacy shall compound all drugs in a clean sterile environment in compliance
with pharmaceutical standards for identity, strength, quality, and purity of the compounded drug
that are consistent with United States Pharmacopoeia guidelines and accreditation
Departments. In addition, Pharmacy shall compound all drugs in accordance with applicable
licensing regulations adopted by the                                                that pertain to
pharmacies compounding sterile preparations.

        1.3      Limitation on Services. Pharmacy shall only provide controlled substance and
compounding preparations that it can prepare to ensure compliance with pharmaceutical
standards for identity, strength, quality, and purity of the compounded drug that are consistent
with United States Pharmacopoeia guidelines and accreditation Departments_          In the event
Department requests a controlled substance or compounded preparation which Pharmacy is not
able to fill, Pharmacy shall notify Department.

        1.4      Recalls. In the event that Pharmacy determines that a recall for any controlled
substance or compounded preparation provided hereunder is warranted Pharmacy shall
immediately notify Department of the medication and/or preparations subject to the recall.
Pharmacy shall instruct Department as how to dispose of the medication or preparation, or may
elect to retrieve the medication or preparation from Department. Pharmacy shall further instruct
Department of any measures that need to be taken with respect to the recalled medication or
preparation.

                                            Article 2
                                  OBLIGATIONS OF DEPARTMENT



        2.1     Written Requests. All requests for controlled substances and compounded
preparations must be in writing and sent to Pharmacy via electronic mail or facsimile. The
following shall appear on all requests:
                A. Date of request;
                B. FOR COMPOUNDED PREPARATIONS ONLY: Name, address, and phone
                   number of the practitioner requesting the preparation;
                C. Name, strength, and quantity of the medication or preparation ordered; and
                D. Whether the request needs to be filled on a STAT basis.

         2.2      Use of Controlled Substance and Compounded Preparations. Department
agrees and acknowledges that all controlled substance and compounded preparations provided
by Pharmacy may only be used by Department in carrying out a sentence of death by lethal
injection and may not be dispensed or sold to any other person or entity. Department assumes
full responsibility for administering any controlled substance or compounded preparations.

       2.3     Recordkeeping. Department agrees to maintain records of the lot number and
beyond-use date of a controlled substance or compounded preparation to be administered or
administered by Department that was prepared by Pharmacy. Department agrees to maintain
inventory control and other recordkeeping as may be required by applicable federal and state
laws and regulations_




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                                                Article 3
                                        TERM AND TERMINATION

        3.1   Term. The Effective Date of this Agreement shall be the date first specified
above_ The term of this Agreement shall be for a period of one (1) year unless sooner
terminated by either party pursuant to the terms and provisions hereof. If this Agreement is not
terminated by either party prior to the anniversary date of this Agreement or any renewal term,
this Agreement shall automatically renew for an additional one (1) year term.

        3.2      Termination.

        A. Either party to this Agreement may terminate this Agreement, with or without cause,
              by providing the other party sixty (60) days prior written notice of said termination.

        B. Pharmacy may immediately terminate this Agreement in the event of any of the
           following:

                 1. Department ceases to provide professional services for any reason.

                 2.    Department's professional license is revoked, terminated, or suspended.

                 3. Department declares bankruptcy.

                 4. Department fails to comply the terms of this Agreement and fails to cure such
                    breach within 5 business days of receiving notice of the breach.

        C. Department may immediately terminate this Agreement in the event of any of the
           following:

                 1. Pharmacy's professional license is revoked, terminated, or suspended.

                 2. Pharmacy is excluded or debarred from participation in the Medicare and/or
                    Medicaid programs for any reason.

                 3. Pharmacy declares bankruptcy.

                 4. Pharmacy fails to comply the terms of this Agreement and fails to cure such
                    breach within 5 business days of receiving notice of the breach.

                                                Article 4
                                           REPRESENTATION

        4.1     Representation by TN Attorney General. The Tennessee Attorney General's
Office will represent or provide representation to Pharmacy in any civil lawsuit filed against
Pharmacy for its acts or omissions arising out of and within the scope and course of this
agreement except for willful, malicious or criminal acts or omissions or for acts or omissions
done for personal gain. Any civil judgment leveled against Pharmacy arising out it's acts or
omissions pursuant to this agreement will be reimbursed by the State in accordance with the
terms of TC.A § 9-8-112. The Attorney General's Office will advocate before the Board of
Claims for full payment of any judgment against Pharmacy arising out of a civil lawsuit in which
the Attorney General's Office represents or provides representation to Pharmacy_
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                                                                                             Attachment 3
                                             Article 5
                                          Miscellaneous

       5.1     Amendment. This Agreement may be amended only by mutual agreement and
reduced to writing and signed by both parties hereto.

       5.2     Payment. Pharmacy agrees to submit invoices within thirty (30) days after
rendering services and/or providing controlled substances or compounded preparations to:
TDOC Fiscal Director, Rachel Jackson Building, 5th Floor, 320 5th Avenue North, Nashville,
Tennessee, 37243. Department agrees to pay an annual fee to Pharmacy in the amount of
$5,000.00 (five thousand dollars).

      5.3    Captions.     Any caption or heading contained in this Agreement is for
convenience only and shall not be construed as either broadening or limiting the content of this
Agreement.

       5.4    Sole Agreement. This Agreement constitutes the sole and only agreement of
the parties hereto and supersedes any prior understandings or written or oral agreements
between the parties respecting the subject matter herein.

         5.5     Controlling Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of Tennessee. The parties hereto expressly agree that
this Agreement is executed and shall be performed in Davidson County, Tennessee, and venue
of all disputes, claims and lawsuits arisirig hereunder shall lie in Davidson County, Tennessee.

        5.6    Severability. The sections, paragraphs and individual provisions contained in
this Agreement shall be considered severable from the remainder of this Agreement and in the
event that any section, paragraph or other provision should be determined to be unenforceable
as written for any reason, such determination shall not adversely affect the remainder of the
sections, paragraphs or other provisions of this Agreement. It is agreed further, that in the event
any section, paragraph or other provision is determined to be unenforceable, the parties shall
use their best efforts to reach agreement on an amendment to the Agreement to supersede
such severed section, paragraph or provision.

         5. 7    Notice. Any notices under this Agreement shall be hand-delivered or mailed by
certified mail, return receipt requested to the parties at the addresses set forth on the signature
page of this Agreement, or such other addresses as the parties may designate to the other in
writing from time to time.




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         5.8    Agreement Subject to State and Federal Law. The parties recognize that this
Agreement, at all times, is subject to applicable state, local and federal laws including, but not
limited to, the Social Security Act and the rules, regulations and policies adopted thereunder
and adopted by the                                                        , as well as the public
health and safety provisions of state laws and regulations. The parties further recognize that
this Agreement shall be subject to amendments of such laws and regulations, and to new
legislation. Any such provisions of law that invalidate, or otherwise are inconsistent with the
terms of this Agreement, or that would cause one or both of the parties to be in violation of the
laws, shall be deemed to have superseded the terms of this Agreement; provided, however, that
the parties shall exercise their best efforts to accommodate the terms and intent of this
Agreement to the greatest extent possible consistent with the requirements of applicable laws
and regulations.

        5.9     Compliance With All Applicable Laws.                The parties hereto hereby
acknowledge and agree that each party shall comply with all applicable rules regulations, laws
and statutes including, but not limited to, any rules and regulations adopted in accordance with
and the provisions of the Health Insurance Portability and Accountability Act of 1996 ("HIPAA").
The parties hereby specifically agree to comply with all privacy and security rules, regulations
and provisions of HIPAA and to execute any required agreements required by all HIPAA
Security Regulations and HIPAA Privacy Regulations whether presently in existence or adopted
in the future, and which are mutually agreed upon by the parties. In addition, in the event the
legal counsel of either party, in its reasonable opinion, determines that this Agreement or any
material provision of this Agreement violates any federal or state law, rule or regulation, the
parties shall negotiate in good faith to amend this Agreement or the relevant provision thereof to
remedy such violation in a manner that will not be inconsistent with the intent of the parties or
such provision. If the parties cannot reach an agreement on such amendment, however, then
either party may terminate this Agreement immediately. This section shall survive the
termination of this Agreement.

         5.10    Referral Policy. Nothing contained in this Agreement shall require, directly or
indirectly, explicitly or implicitly, either party to refer or direct any patients to the other party.

        5.11   Assignment. This Agreement is not assignable without the other party's prior
written consent.

       5.12   Independent Contractor Status. In performing their responsibilities pursuant to
this Agreement, it is understood and agreed that Pharmacy and its pharmacists and other
professionals are at all times acting as independent contractors and that the parties to this
Agreement are not partners, joint-venturers, or employees of one another.

        5.13   Non-Waiver. No waiver by one of the parties hereto of any failure by the other
party to keep or perform any provision, covenant or condition of this Agreement shall be
deemed to be a waiver of any preceding or succeeding breach of the same, or any other
provision, covenant or condition.

       5.14 Counterparts/Execution.           This document may be executed in multiple
counterparts, each of which when taken together shall constitute but one and the same
instrument. In addition, this Agreement may be executed by facsimile or electronic signature,
which shall constitute an original signature.


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         5.15   No Third-Party Beneficiaries. No provision of this Agreement is intended to
benefit any third party, nor shall any person or entity not a party to this Agreement have any
right to seek to enforce or recover any right or remedy with respect hereto.

        5.16   Confidentiality. Both parties agree to keep this Agreement and its contents
confidential and not disclose this Agreement or its contents to any third party, other than its
attorneys, accountants, or other engaged third parties, unless required by law, without the
written consent of the other party.

IN WITNESS WHEREOF, the parties have hereunto caused their authorized representatives to
execute this Agreement as of the date first set forth above.




By:                                                  By:
Name
                                                     Name:
Title:                                               Title:   TDOC Commissioner


Date:                                                Date:


Address:                                           Address:      320 6'h Ave. North 6'h Floor
                                                                 Nashville TN 37243




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